Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 1 of 79




                 Exhibit A
                             Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 2 of 79

                                                                                                                                                       SUM-100
                                                    SUMMONS                                                              (
                                                                                                                             FOR COURT USE ONLY
                                                                                                                          SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)
                                                                                                                       ELECTRONICALLY FILED
                                                                                                                        Superior Court of California
                                                                                                                            County of Alameda
NOTICE TO DEFENDANT:
                                                                                                                              02/14/2023
(AVISO AL DEMANDADO):                                                                                                  gad Free,Eillsalfree Ofitet / Clotalto Gaud

 RITE AID CORPORATION, a Delaware Corporation                                                                           BY
                                                                                                                                     A. Linhares         Deputy



YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 JANE DOE',JANE DOE II, and JANE DOE III, on behalf of themselves and all others similarly situated

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the Califomia Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 IAVISOI Lo han demandado. Si no responde dentro de 30 dies, la corte Telt decidir en su contra sin escuchar su version. Lea la informaci6n a
 continuacion.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
 en format° legal correct° si desea que procesen su caso en la corte. Es posible que haya un form ulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacido, pida al secretario de la corte que
 le da un form ulario de exencido de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podia
 guitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniandose en contacto con la code o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacido de $10,000 6 mas de valor recibida mediante un acuerdo o una conceskin de arbitrate en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la corte pueda desechar el caso.
                                                                                                CASE NUMBER:
 The name and address of the court is:                                                         (NOmero del Caso):
(El nombre y direcciOn de la corte es): Alameda County Superior Court                                                 23CV027782
 1225 Fallon St, Oakland, CA 94612

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn y el nOmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 HammondLaw, P.C.; Julian Hammond; 1201 Pacific Ave., Suite 600, Tacoma WA, 98402;(310)-601-6766
 DATE:                                                                Clerk, by                                         , Deputy
                                                   Clerk of the Court (Secretario) A. Linhares
         02/14/2023 Chad Finke, Executive Officer /Clerk
(Fecha)                                                                                                                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatiOn use el formulario Proof of Service of Summons,(POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1. I    as an individual defendant.
                                      2.          as the person sued under the fictitious name of (specify):

                                      3.     V on behalf of(specify): RITE           AID CORPORATION, a Delaware Corporation
                                           under:         CCP 416.10(corporation)                I—I CCP 416.60(minor)
                                                          CCP 416.20(defunct corporation)        I—I CCP 416.70(conservatee)
                                                          CCP 416.40(association or partnership) [   CCP 416.90(authorized person)
                                                         other (specify):
                                      4.          by personal delivery on (date):
                                                                                                                                                           Page 1 oil
 Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California
                                                                       SUMMONS                                                                      www.courts.ca.gov
  SUM-100 [Rev. July 1,2009]
Far your protection and privacy, please press the Clear-
Thin Farm hiiffnn afar van hat/a nrintail *ha farm           .   I. 1211:irs+ +hic fesrrrs 1 I C.tc. +Mc fr....in I                      immemitzunnal
                        Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 3 of 79
                                                                                                        Reserved for Clerk's File Stamp
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF ALAMEDA                                                                             FILED
  COURTHOUSE ADDRESS:
                                                                                                     • Superior Court of California
                                                                                                           County of Alameda
 Rene C. Davidson Courthouse
 Administration Buildinq, 1221 Oak Street, Oakland, CA 94612                                                 02/15/2023
  PLAINTIFF:                                                                               Clad Fluke , Execute Ofilser Mk* oftle Cour
  Jane Doe, 1 et al                                                                                             A. Linhares               Deputy
  DEFENDANT:
                                                                                               By.
  Ride Aid Corporation, a Delaware Corporation                                                                                             •
                                                                                           CASE NUMBER:
           NOTICE OF COMPLEX DETERMINATION HEARING                                             23CV027782
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all parties omitted from this notice or brought into the action after this notice was mailed.

Your Complex Determination Hearing has been scheduled on:


                                  Date:   03/28/2023         Time:   9:15 AM     Dept.:   23
                                  Location:   Rene C. Davidson Courthouse
                                              Administration Building, 1221 Oak Street, Oakland, CA 94612


Pursuant to California Rules of Court, Rule 3.400 et seq. and Local Rule 3.250 (Unified Rules of the Superior Court,
County of Alameda), the above-entitled matter is set for a Complex Determination Hearing.

The judge may place a tentative ruling in your case's on-line register of actions before the hearing. Check
the court's eCourt Public Portal for each assigned department's procedures regarding tentative rulings at
https://eportal.alameda.courts.ca.qov.




Form Approved for Mandatory Use
Superior Court of California,         NOTICE OF COMPLEX DETERMINATION HEARING
County of Alameda
ALA CIV-100 [Rev. 11/2022]
              Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 4 of 79

                                                                                   Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                         FILED
Rene C. Davidson Courthouse                                                       Superior Court of California
                                                                                     County of Alameda
1225 Fallon Street, Oakland, CA 94612
                                                                                        02/1 5/2023
PLAINTIFF/PETITIONER:                                                     clad Fide , Execu Ike Office r /C IBM o/the coin
Jane Doe, 1 et al                                                           By.           A. Lin ha res         Deputy
DEFENDANT/RESPONDENT:
Ride Aid Corporation, a Delaware Corporation
                                                                          CASE NUMBER:
                        CERTIFICATE OF MAILING
                                                                          23CV027782

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Complex Determination Hearing upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




   Julian Hammond
   HAMMONDLAW PC
   1201 Pacific Ave Suite 600
   Tacoma, WA 98402




                                                   Chad Finke, Executive Officer / Clerk of the Court

Dated: 02/15/2023                                    By:

                                                                  A. Linhares, Deputy Cler:




                                    CERTIFICATE OF MAILING
                            Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 5 of 79
ATTORNEY OR PARTY VVITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                            FOR COURT USE ONLY
HammondLaw PC; Julian Hammond (SBN 268489)
1201 Pacific Ave, Suite 600, Tacoma, WA 98402
         TELEPHONE NO.:310 601
                            6766              FAX NO.(Optional):310 295 2385
                                                                                                                                ELECTRONICALLY FILED
      E-MAIL ADDRESS:ihammondehammondlawoc.com
  ATTORNEY FOR (Name):JANE DOE I. JANE DOE II. and JANE DOE III
                                                                                                                                 Superior Court of California,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
                                                                                                                                     County of Alameda
 STREET ADDRESS:
MAILING ADDRESS:1225   Fallon St
                                                                                                                                02/14/2023 at 12:00:00 AM
                                                                                                                                            By: Prigela Unhares,
CITY AND ZIP CODE:Oakland 94612
      BRANCH NAME: REne C Davidson
                                                                                                                                               Deputy Clerk
CASE NAME:
Jane Doe 1 et al v Rite Aid Corporation
       CIVIL CASE COVER SHEET                                                      CASE NUMBER:
                                              Complex Case Designation
  x     Unlimited        Limited                I Counter         I     Joinder          23CV 027782
       (Amount          (Amount
                                          Filed with first appearance by defendant JUDGE:
        demanded         demanded is
                                             (Cal. Rules of Court, rule 3.402)      DEPT.:
       exceeds $25,000)  $25,000 or less)
                           Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           ContractBRrueleac3h.                                           Provisionally Complex Civil Litigation
           Auto (22)                                                         7o4f0co
                                                                                  co ntilreacctionasrr(a0n9ty) (06)     (Cal. Rules of Court, rules 3.400-3.403)
     ni Uninsured motorist(46)                                                                                          I—I Antitrust/Trade regulation (03)
     Other PI/PDNVD (Personal Injury/Property                      Other collections (09)                                      Construction defect(10)
     Damage/Wrongful Death) Tort                                                                                               Mass tort (40)
                                                                   Insurance coverage (18)
     1---1
         A• sbestos (04)                                           Other contract(37)                                          Securities litigation (28)
         Product liability (24)                                                                                               Environmental/Toxic tort (30)
                                                           Real Property
     I—I Medical malpractice (45)                                                                                             Insurance coverage claims arising from the
                                                            Eminent domain/Inverse
     -
     I 7 Other Pl/PD/VVD (23)                                                                                                 above listed provisionally complex case
                                                            condemnation (14)
                                                                                                                              types (41)
      Non-PI/PD/WD (Other) Tort                             Wrongful eviction (33)                                       Enforcement of Judgment
     ni B• usiness tort/unfair business practice (07) 1 - 1 Other real property (26)                                    I—I Enforcement of judgment(20)
     r--1 C• ivil rights (08)                         Unlawful Detainer
                                                                                                                         Miscellaneous Civil Complaint
     1 -1 D• efamation (13)                                 Commercial (31)
                                                                                                                               RICO (27)
     -
     1 7 F•   raud (16)                                   I—I Residential (32)
                                                                                                                               Other complaint(not specified above)(42)
             Intellectual property (19)                         Drugs(38)
                                                                                                                         Miscellaneous Civil Petition
             Professional negligence (25)                 Judicial Review
                                                                                                                        I—I Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
      Employment                                                   Petition re: arbitration award (11)                         Other petition (not specified above)(43)

             Wrongful termination (36)                             Writ of mandate (02)
             Other employment(15)                                  Other judicial review (39)
2. This case           is     I     is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
   a.         Large number of separately represented parties       d. -
                                                                      1 7 Large number of witnesses
    b. TT Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c. x Substantial amount of documentary evidence                           court
                                                                   f. FT Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ET monetary •               nonmonetary; declaratory or injunctive relief c. - 1 -1 punitive
4. Number of causes of action (specify): See attachment
5. This case I x is           FT is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
Date: 2/13/23
Julian Hammond
                             (TYPE OR PRINT NAME)                                                                     (SIGN   IROF PARTY OR ATTORNEY FOR PARTY)
                                                                         NOTICE                          •      ••
 •    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.)failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                              Page 1 of 2

Form Adopted for Mandatory Use                                                                                                   Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740,
  Judicial Council of California                             CIVIL CASE COVER SHEET                                                      Cal. Standards of Judicial Administration. std. 3.10
                         Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 6 of 79
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or(5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property               Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist(46)(if the                         Contract (not unlawful detainer            Construction Defect(10)
       case involves an uninsured                                 or wrongful eviction)
                                                                                 i ti                   Claims Involving Mass Tort(40)
        motorist claim subject to                       Contract/Warranty Breach—Seller                 Securities Litigation (28)
       arbitration, check this item                          Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
       instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                            Warranty                                        (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of ContractNVarranty                     case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                           Enforcement of Judgment(20)
        Asbestos Property Damage                        Collection Case—Seller Plaintiff                 Abstract of Judgment(Out of
        Asbestos Personal Injury/                       Other
                                                        Oth P  Promissory
                                                                      i      Note/Collections                  County)
              Wrongful Death                                 Case                                    Confession of Judgment(non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                 domestic relations)
         toxic/environmental)(24)                       complex)(18)                                 Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                             Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                   (not unpaid taxes)
               Physicians & Surgeons                Other Contract(37)                                Petition/Certification of Entry of
     Other Professional Health Care                     Contracuat l Fraud                                Judgment on Unpaid Taxes
            Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                               Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                        Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                             RICO (27)
          Intentional Bodily lnjury/PDNVD           Wrongful Eviction (33)                            Other Complaint (not specified
               (e.g., assault, vandalism)           Other Real Property (e.g., quiet title)(26)            above)(42)
          Intentional Infliction of                     Writ of Possession of Real Property                Declaratory Relief Only
               Emotional Distress                       Mortgage Foreclosure                               Injunctive Relief Only (non-
          Negligent Infliction of                       Quiet Title                                              harassment)
                Emotional Distress                          er Real Propery
                                                        Other                t (not eminentt               Mechanics Lien
          Other PI/PD/WD                                domain, landlord/tenant, or                        Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                              foreclosure)                                            Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer
                                                              t i                                          Other Civil Complaint
         Practice (07)                              Commercial (31)                                             (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential (32)                              Miscellaneous Civil Petition
          false arrest)(not civil                   Drugs (38)(if the case involves illegal           Partnership and Corporate
           harassment)(08)                          drugs, check this item; otherwise,                    Governance (21)
     Defamation (e.g., slander, libel)              report as CCommercial       Residential)
                                                                         i l or R   id ti             Other Petition (not specified
          (13)                                  Judicial Review                                           above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                 Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                  Elder/Dependent Adult
         Legal Malpractice                              Writ—Administrative
                                                              Ad               Mandamus  s                      Abuse
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                    Election Contest
            (not medical or legal)                         Case Matter                                    Petition for Name Change
     Other Non-PI/PD/WD Tort(35)                        Writ—Other Limited Court Case                     Petition for Relief From Late
 Employment                                                Review                                              Claim
     Wrongful Termination (36)                     Other Judiciall RReview (39)                           Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010[Rev. September 1,2021)                                                                                                            Page 2 of 2
                                                       CIVIL CASE COVER SHEET
For your protectior      id.Triv
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         Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 7 of 79




                    ATTACHMENT TO CIVIL CASE COVER SHEET

4. Number of causes of action (specify):

(1) Invasion of Privacy—Intrusion into Private Matters;
(2) Invasion of Privacy and Violation of California Constitution, Art. 1, § 1;
(3) Violation of Confidentiality of Medical Information Act(CMIA), California Civil Code §
    56.101;
(4) Violation of CMIA, California Civil Code § 56.10;
(5) Violation of California Invasion of Privacy Act(CIPA), Penal Code §§ 630, et seq.;
(6) Breach of Contract;
(7) Breach of Implied Contract(in the alternative); and
(8) Violation of Business & Professions Code §§ 17200 et seq.(UCL)
                     Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 8 of 79

                                                                                                    Reserved for Clerk's File Stamp
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF ALAMEDA                                                                         FILED
                                                                                                 Superior Court of California
  COURTHOUSE ADDRESS:
                                                                                                    County of Alameda
 Rene C. Davidson Courthouse
 Administration Building, 1221 Oak Street, Oakland, CA 94612                                             02/14/2023
  PLAINTIFF:                                                                               Clad F like ,Emilie Ottce r /C[rli pith Cour
 Jane Doe, 1 et al                                                                          By             A. Linhares          aputy
  DEFENDANT:
  Ride Aid Corporation, a Delaware Corporation
                                                                                           CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                            23CV027782

TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   06/14/2023         Time:   8:30 AM     Dept.:   23
                                  Location:   Rene C. Davidson Courthouse
                                              Administration Building, 1221 Oak Street, Oakland, CA 94612

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.qov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda                 CASE MANAGEMENT CONFERENCE
ALA CIV-100[Rev. 10/2021)
               Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 9 of 79

                                                                                 Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:                                                                       FILED
                                                                                Superior Court of California
Rene C. Davidson Courthouse                                                         County of Alameda
1225 Fallon Street, Oakland, CA 94612
                                                                                      02/14/2023
PLAINTIFF/PETITIONER:                                                    c ad Fluke , Execute Otter/Mk cite c u r1
Jane Doe, 1 et al                                                         By.            A. Lin hares         Deputy

DEFENDANT/RESPONDENT:
Ride Aid Corporation, a Delaware Corporation
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           23CV027782

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




   Julian Hammond
   HAMMONDLAW PC
   1201 Pacific Ave Suite 600
   Tacoma, WA 98402




                                                   Chad Finke, Executive Officer / Clerk of the Court

Dated: 02/15/2023                                   By:

                                                                  A. Linh ares,Deputy Clerk




                                    CERTIFICATE OF MAILING
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 9

10                       SUPERIOR COURT FOR THE STATE OF CALIFORNIA

11
                                           COUNTY OF ALAMEDA
12

13 JANE DOE I, JANE DOE II, and JANE DOE                 CASE NO. 23CV 027702
   III, on behalf ofthemselves and all others
14 similarly situated,                                   CLASS ACTION COMPLAINT FOR:
15                  Plaintiffs,                          (1) Invasion of Privacy—Intrusion into
                                                             Private Matters;
16   VS.                                                 (2) Invasion of Privacy and Violation of
17                                                           California Constitution, Art. 1,§ 1;
                                                         (3) Violation of Confidentiality of Medical
18                                                          Information Act(C1VHA), California Civil
     RITE AID CORPORATION,a Delaware                         Code § 56.101;
19   Corporation,                                        (4) Violation of CMIA,California Civil Code
                                                            § 56.10;
20                  Defendant.                           (5) Violation of California Invasion of Privacy
                                                             Act(CIPA), Penal Code §§ 630, et seq.;
21                                                       (6) Breach of Contract;
                                                         (7) Breach of Implied Contract(in the
22                                                           alternative); and
                                                         (8) Violation of Business & Professions Code
23                                                          §§ 17200 et seq.(UCL)
24
                                                         DEMAND FOR JURY TRIAL
25

26

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 1           Plaintiffs Jane Doe I, Jane Doe II, and Jane Doe III ("Plaintiffs"), on behalf of themselves and all
                                                                                           complain and
 2 others similarly situated, by and through their attorneys of record, HammondLaw, P.C.,
   allege the following, based upon personal knowledge, where applicable, information and belief, and the
 3
   investigation of counsel:
 4                                           INTRODUCTION
 5           1.      This is a privacy class action under California Code of Civil Procedure § 382 seeking

6     damages (including but not limited to compensatory, statutory, and punitive damages), civil penalties,
      restitution, disgorgement of profits, declaratory relief, and reasonable attorney's fees and costs pursuant
 7
      to California Business & Professions Code § 17203, Civil Code §§ 56.35, 56.36, Penal Code § 637.2, and
 8
      Code of Civil Procedure § 1021.5 on behalf ofthe members of the class, as defined below.
 9           2.      During the Class Period, Defendant Rite Aid Corporation (hereinafter, "Rite Aid" or

10 "Defendant") operated one ofthe largest chains of pharmacies in the United States, delivering health care
   services and retail products to over one million Americans daily.' As of February 26, 2022, Defendant
11
   operated 2,450 retail drugstores, with 526 stores in California.2 Defendant also maintained and operated,
12
   and continues to maintain and operate, a website — https://www.riteaid.com — through which its customers
13
   can, among other things, learn about Defendant's services, find Rite Aid stores, fill their prescriptions,
14    book various medical tests, schedule a number of different vaccinations, and otherwise interact with
15    Defendant.3

16           3.      In the most recent reported year, fiscal 2022(52 weeks ending Feb. 26, 2022), one of the
      primary focuses of Rite Aid's marketing activities was "[d]riving the awareness of COVID-19 vaccination
17
      and testing, as well as flu and ancillary immunizations."4 Rite Aid also reported "delivering 14 million
18
     [COVID-19] vaccine doses," and stated that "Pharmacy same store sales increased 7.9%" in fiscal 2022,
19

20

21

22      Rite Aid Corporation, Fiscal 2022 Annual Report, Form 10-K, p. 5(2022)
     ( https://s27.q4cdn.com/633053956/files/doc_financials/2022/ar/d3b229ff-5147-4849-bfel-
23    13cec0816db9.pdf).
      2 1d. at p. 41.
24
      3
        Rite Aid Home Page, https://www.riteaid.com (last visited, Feb. 7, 2023).
     4
25      Rite Aid Corporation, Fiscal 2022 Annual Report, Form 10-K, pp. 11-12(2022)
     (https://s27.q4cdn.com/633053956/files/doc_financials/2022/ar/d3b229ff-5147-4849-bfel-
26    13cec0816db9.pdf).

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 I    and that this was due, in part, to Rite Aid's "COVID-19 vaccination program."5 In that same year, the

 2 revenue achieved by Rite Aid's Retail Pharmacy Segment was $17.49 billion.6

 3            4.     When Plaintiffs and other customers used Defendant's website in order to make a
      vaccination appointment, they were required to provide personal information, including their first name,
 4
      last name, street address, city, state, zip code, sex assigned at birth, race, and whether they are of
 5
     "Hispanic, Latino/Latina, or Spanish Origin?."
 6            5.     Plaintiffs and other customers were subsequently required to provide details of their

 7    medical history including answers to questions such as, for example:"Do you have a neurological disorder
      such as seizures or other disorders that affect the brain or have had a disorder that resulted from a vaccine
 8
     (e.g. Guillain-Barre Syndrome)?""Have you had a shingles vaccine'"Have you had a whooping cough
 9
     (Tdap/Td) vaccine?""Do you have a long term health problem with lung disease or asthma?" "During
10 the past year, have you received a transfusion of blood or blood products, including antibodies?" "Are

11    you pregnant or could you become pregnant in the next three months?"
              6.     Unbeknownst to Plaintiffs and other customers, the answers they gave to these questions,
12
      along with their personal information and personal identifiers, were secretly disclosed to Meta Platforms,
13
      Inc.(formerly known as Facebook)("Meta" or "Facebook"), an unauthorized third party.
14            7.     Through the Meta Pixel, a tracking tool intentionally incorporated by Rite Aid in its
15    website source code or otherwise affirmatively permitted on its website by Rite Aid, for customers who
      made a vaccination appointment, including Plaintiffs, Defendant disclosed individually identifying
16
      information and information regarding their medical history, mental and physical condition, and treatment
17
     (hereinafter "Medical Information"), to Meta, all without its customers' knowledge and/or consent.
18            8.     Thus, through its actions and practices, Rite Aid has disclosed and released Medical
19 Information to Meta. This massive breach of confidentiality and privacy has, on information and belief,
      affected millions of Class Members in the state of California.
20
              9.     Plaintiffs bring this class action on behalf ofthemselves and all natural persons residing in
21
      California who used Defendant's website to make a vaccination appointment and whose Medical
22 Information was disclosed or transmitted to Meta or any other unauthorized third party (hereinafter,"Class

23    Members").

24

25
      5 1d.at pp. 7,56.
26   6 1d. at p. 55.



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 1           10.    Rite Aid's actions constitute an extreme invasion of Plaintiffs' and Class Members'

 2   privacy. Rite Aid's actions also violated common law, the California Constitution, and numerous state
     statutes.
 3
                                                    PARTIES
 4           1 1.   Plaintiff Jane Doe I, is a citizen of California, residing in Cerritos, Los Angeles County,
 5   California. Plaintiff Jane Doe I used Defendant's website to book a vaccination appointment in or about

 6   April 2021. On information and belief, her Medical Information was disclosed to Meta without her
     knowledge, consent, or authorization.
 7
             12.    Plaintiff Jane Doe II, is a citizen of California, residing in Van Nuys, Los Angeles County,
 8   California. Plaintiff Jane Doe II used Defendant's website to book a vaccination appointment in or about
 9 March 2021. On information and belief, her Medical Information was disclosed to Meta without her

10 knowledge, consent, or authorization.
          13.      Plaintiff Jane Doe III, is a citizen of California, residing in Brea, Orange County,
11
   California. Plaintiff Jane Doe III used Defendant's website to book a vaccination appointment in or about
12
   April 2022. On information and belief, her Medical Information was disclosed to Meta without her
13   knowledge, consent, or authorization.

14           14.    Defendant Rite Aid Corporation, is a Delaware Corporation. Rite Aid's principal place of
     business, as listed with the California Secretary of State, is 30 Hunter Lane, Camp Hill, Pennsylvania
15
     17011. On information and belief, Rite Aid has moved its corporate headquarters and principal place of
16
     business to 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
17                                              JURISDICTION

18           15.    This Court has jurisdiction over Plaintiffs' and Class Members' claims for compensatory
     damages, disgorgement of profits, and punitive damages arising from Defendant's invasion of privacy
19
     and violation of Article 1, Section 1 ofthe California Constitution.
20
             16.    This Court has jurisdiction over Plaintiffs' and Class Members' claims for nominal
21   damages, actual damages, statutory damages, punitive damages, and reasonable attorneys' fees and costs

22 arising from Defendant's violation of the California Confidentiality of Medical Information Act, Cal.
   Civil Code §§ 56 et seq.
23
           17.   This Court has jurisdiction over Plaintiffs' and Class Members' claims for statutory
24
   damages of $5,000 per violation, or three times the amount of actual damages, arising from Defendant's
25   violation ofthe California Invasion of Privacy Act, Penal Code §§ 630 et seq.

26


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 1          18.     This Court has jurisdiction over Plaintiffs' and Class Members' claims for breach of

 2 contract and, in the alternative, breach of implied contract.
           19.    This Court has jurisdiction over Plaintiffs' and Class Members' claims for restitution and
 3
   declaratory and injunctive relief arising from Defendant's unlawful, unfair, and fraudulent business
 4 practices under Cal. Bus. & Prof. Code §§ 17200 et seq.

 5          20.     This Court has jurisdiction over Plaintiffs' and Class Members' claims for reasonable

 6 attorneys' fees and costs pursuant to § 1021.5 ofthe California Code of Civil Procedure.
          21.     This Court has personal jurisdiction over the parties because Defendant has continuously
 7
   and systematically conducted business in the State of California. Likewise, Plaintiffs are California
 8 residents whose rights were violated in the State of California as a result of their contact with Defendant

 9 from and within California.

10                                                    VENUE
            22.     Venue is proper in this Court pursuant to California Code of Civil Procedure § 395.
11
     Defendant is a foreign corporation and has not designated with the California Secretary of State a principal
12
     place of business in California. Thus, venue is proper in any county within California.
13                                        FACTUAL BACKGROUND

14 In Order for Plaintiffs and Class Members to Make Vaccination Appointments on its Website,
   Defendant Required Them to Input MedicalInformation
15
         23.    Throughout the Class Period, Defendant maintained and operated websites (including
16
   www.riteaid.com), through which Defendant has encouraged and permitted consumers to make
17 appointments for a variety of vaccinations, including vaccinations for: COVID-19; flu; shingles; Tdap

18 (Tetanus, Diphtheria, Pertussis); DTaP (Diphtheria, Tetanus, Pertussis); Hepatitis A & B; Hepatitis A;
    Hepatitis B; HPV; Meningitis; Measles, Mumps,& Rubella; and, Chicken Pox (Varicella).
19
           24.     To begin the process of making a vaccination appointment, when a Class Member visited
20
    Defendant's website they could, from the home page, click on the "Schedule Vaccinations" button.
21   Having clicked on that button, the Class Member would be taken to a page with the heading "Schedule

22 an Appointment," and would be required to enter her ZIP code and the "Vaccine recipient's date of birth
   (MM/DD/YYYY)", and to select the type of immunization needed. Depending on the type of
23
    immunization selected, the Class Member would be asked whether he or she had received a dose of that
24
    immunization before, or, in the case of a COVID-19 vaccine, he or she would be asked for details of the
25   particular type of vaccine required and information about previous COVID-19 vaccines he or she had

26 received.


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 1          25.     Next, the Class Member would be presented with a list of Rite Aid Pharmacy locations

 2 and, under each location, one or more dates with available vaccination appointments. The Class Member
   would then click on one of those available dates at one location, and be presented with a number of
 3
   available appointment times from which she could click on a time and then click another button to "Select
 4 Appointment."

 5          26.     Having selected an appointment,the Class Member would then be required to fill in a form

 6 entitled "Recipient Information" in which the Class Member would provide the following information:
   first name; last name; street address; city; state; zip code; sex assigned at birth; race; whether they are
 7
   Hispanic, Latino/Latina, or Spanish origin; and last 4 digits of Social Security Number or the fact that
 8 they do not have a Social Security Number.

 9          27.     The next step would be for the Class Member to provide his or her own phone number and

10 to select a language preference for communications including a confirmation of the appointment and
   reminders.
11
           28.    Having provided his or her contact information, the Class Member would be taken to a
12
   page entitled "Vaccine history" and required to answer a number of questions about his or her medical
13   history, physical condition, and treatment. These questions, which could be answered by selecting "Yes",

14 "No", or "Don't Know," include: "Do you have allergies to medications, food (e.g. eggs), latex or any
   vaccine component (e.g. neomycin, formaldehyde, gentamicin, thimerosal, bovine protein, phenol,
15
   polymyxin, gelatin, baker's yeast or yeast)?" "Have you received a vaccine in the past 4 weeks?""Have
16
   you ever had a serious reaction after receiving a vaccination?""Do you have a neurological disorder such
17 as seizures or other disorders that affect the brain or have had a disorder that resulted from a vaccine (e.g.

18   Guillain-Barre Syndrome)?" "Have you had a pneumococcal vaccine? (You may need two different
     pneumococcal shots)""Have you had a shingles vaccine?""Have you had a whooping cough (Tdap/Td)
19
     vaccine?"
20
            29.     After completing the "Vaccine history" form, the Class Member could click a button
21   marked "Next" and proceed to a page entitled "Health information." On this page, the Class Member

22   would be required to answer a number of questions about his or her medical history, physical condition,
     and treatment. These questions include:"Do you have any long-term health problems with heart disease,
23
     kidney disease, metabolic disorder (e.g. diabetes), anemia , or blood disorders?" "Do you have a long
24
     term health problem with lung disease or asthma?" "Do you have cancer, leukemia, AIDS, or any other
25   immune-system problem?(In some circumstances you may be referred to your physician)""Do you take

26   prednisone, other steroids, or anticancer drugs, or have you had radiation treatments?" "During the past


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 1   year, have you received a transfusion of blood or blood products, including antibodies?""Do you use any

 2   nicotine products?." The Class Member would also be prompted to answer the option question of whether
     he or she had any other medical conditions, and to type a response.
 3
            30.     The next page, entitled "Caregiving & Pregnancy," required the Class Member to answer
 4   two required questions: "Are you a parent, family member, or caregiver to a newborn infant?" "Are you
 5   pregnant or could you become pregnant in the next three months?"

 6          31.     The Class Member would, next, reach a page on which he or she could confirm the
     appointment. To confirm the appointment,the Class Member would have to enter an electronic signature.
 7
     Above the electronic signature would be a number of statements and acknowledgements, including the
 8
     following:"I, as the vaccine recipient or legal guardian/parent of a minor child vaccine recipient, authorize
 9 the release of any medical or other information with respect to this vaccine to specified healthcare

10   providers, Medicare, Medicaid or other third party payer as needed and request payment of authorized
     benefits to be made on my or the vaccine recipient's behalf to Rite Aid."; "I acknowledge that the
11
     vaccination record may be shared with federal or state or city agencies for registry reporting."; "I
12
     acknowledge receipt of Rite Aid's Notice of Privacy Practices for Protected Health Information."; "I
13   acknowledge that the administration of an immunization or vaccine does not substitute for an annual

14   check-up with the vaccine recipient's primary care physician."; "For CA: I acknowledge that Rite Aid
     intends to share the vaccination record with the California Immunization Registry(CAIR)and that I have
15
     reviewed the CAIR Immunization Notice to Patients and Parents' attached to this form."; and,"For CA:
16
     I acknowledge that if I do not want the immunization information shared with other CAIR users, I must
17 complete and submit to CAIR a "Decline or Start Sharing/Information Request Form" obtained either

18 from the pharmacy or downloaded from the CAIR website." The underlined terms in the above statements
   and acknowledgements were hyperlinks to Rite Aid's Notice of Privacy Practices and to the CAIR
19
   website, respectively.
20
          32.     On information and belief, throughout the Class Period, the process for making a
21   vaccination appointment on Defendant's website has been substantially the same.

22          33.     Thus, in order to use Defendant's website to schedule a vaccination appointment, Plaintiffs
     and other Class Members were required by Defendant's website to enter confidential, private, and
23
     sensitive personal and health information into the website.
24
     Defendant's Notice of Privacy Practices Promised that Plaintiffs' and Class Members' Medical
25 Information Would be Safeguarded and Not Disclosed to Unauthorized Third Parties

26


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 1           34.     Defendant's Notice ofPrivacy Practices, posted on its website, and substantively identical

 2   in pertinent parts throughout the Class Period, describes, "in accordance with the Health Insurance
     Portability and Accountability Act of 1996('HIPAA')Privacy Rule, how Rite Aid may use and disclose
 3
     [customers'] protected health information [PHI]to carry out treatment, payment or health care operations
 4 and for other specific purposes that are permitted or required by law."

 5           35.     The Notice of Privacy Practices sets out certain limited uses of protected health

 6   information for the purposes of "Treatment, Payment and Health Care Operations." It states: "We will
     use your [PHI] to treat you," We will use your [PHI] to obtain payment for products and services," and
 7
     "We will use your [PHI] to carry out health care operations." After each of these statements, the Notice
 8 of Privacy Practices provides additional detail about how a customer's PHI might be used for each

 9 respective purpose.

10           36.     The Notice ofPrivacy Practices then sets out"uses and disclosures that are either permitted
     or required by the HIPAA Privacy Rule." The Notice explains: "Using their professional judgment, our
11
     pharmacists may disclose your protected health information to a family member, other relative, close
12
     personal friend, or any person you identify as being involved in your health care. This could include
13 allowing those persons to pick up filled prescriptions, medical supplies, or medical records on your behalf.

14    We may enter into contracts with some entities known as Business Associates that perform services for
     us. For example, we sometimes engage Business Associates to sort insurance or other third party payor
15
     claims for submission to the actual payor. We may disclose protected health information to our Business
16
     Associates so that they can perform their services and then bill your third party payor for services
17 rendered. We require the Business Associates to appropriately safeguard the protected health

18   information."
             37.     Next, the Notice of Privacy Practices details "other required or permitted disclosures of
19
     [PHI]." The Notice contains an exhaustive list ofthese other potential disclosures, including,for example:
20
     "to law enforcement agencies as required by law or in response to a valid subpoena or other legal process,"
21 "to a coroner or medical examiner when necessary, for example, to identify a deceased person or to

22 determine a cause of death, or to funeral directors consistent with applicable law to carry out their duties,"
   "when necessary to prevent a serious threat to the patient's health and safety or the health and safety of
23
   the public or another person," and "to authorized federal officials so they may provide protection to the
24
   President, other authorized persons, or foreign heads of state or conduct special investigations."
25           38.     The Notice ofPrivacy Practices then provides:"We will obtain your written Authorization

26   before using or disclosing protected health information about you for marketing purposes, to sell your


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 1   protected health information, or for purposes other than those listed above or otherwise permitted or

 2 required by law. You may revoke an Authorization in writing at any time. Such revocations must be made
   in writing. Upon receipt of the written revocation, we will stop using or disclosing protected health
 3
   information about you, except to the extent that we have already taken action in reliance on the
 4 Authorization."(emphasis added).

 5          39.     Plaintiffs' and Class Members' Medical Information, as that term is defined in this

 6   Complaint, is "protected health information" within the meaning of HIPAA and,thus, Defendant's Notice
     of Privacy Practices.
 7
     Defendant Secretly Disclosed, and Permitted Meta to Intercept, Plaintiffs' and Class Members'
 8 Medical Information

 9          40.      Completely unbeknownst to Plaintiffs and other Class Members, and continuing to the

10   present, Medical Information that they communicated to Defendant through Defendant's website while
     making a vaccination appointment was intercepted by and/or disclosed to at least one unauthorized third
11
     party: Meta.
12
     Meta 's Platform and the Meta Pixel
13          41.     Meta operates the world's largest social media company.

14          42.     Meta maintains profiles on users that include users' real names, locations, email addresses,
     friends, likes, and communications that Meta associates with personal identifiers including IP addresses
15
     and cookie identifiers.
16
            43.     Facebook users are allowed only one account and must share the name they go by in
17 everyday life.

18          44.     Meta also tracks non-users across the web through its widespread Internet marketing
     products and source code.
19
            45.     Meta's revenue is derived almost entirely from selling targeted advertising to Facebook
20
     users on Facebook.com and to all intemet users on non-Facebook sites that integrate Meta marketing
21   source code on their websites.

22          46.      Meta sells advertising space by highlighting its ability to target users. Meta can target
     users so effectively because it tracks Facebook's users' activity both on and off its site. This allows Meta
23
     to draw inferences about users beyond what they explicitly disclose on their Facebook accounts. Meta
24
     compiles this information into a generalized dataset called "Core Audiences," to which advertisers can
25   apply specific filters and parameters in order to generate a target audience for their advertisements.

26


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 1          47.      Advertisers are also able to build "Custom Audiences." Advertisers can use "customer

 2   lists, website or app traffic, or engagement across Facebook technologies, to create Custom Audiences of
     people who already know [their] business."7 Moreover, Advertisers are able to use their Custom Audience
 3
     to create a Lookalike Audience. To create a Lookalike Audience, Facebook "leverages information such
 4
     as demographics, interests and behaviors from [the advertiser's source Custom Audience] to find new
 5   people who share similar qualities." Using a Lookalike Audience allows an advertiser to deliver its
6    advertisements to an "audience of people who are similar to (or 'look like')[its] existing customers."8 '

 7          48.     One method by which an Advertiser can create a Custom Audience, and consequently a
     Lookalike Audience, is from the Advertiser's website. In order to create a "website Custom Audience"
 8
     an Advertiser's website must have an active Meta Pixe1.9
 9
            49.     The Meta Pixel is offered to advertisers, like Rite Aid,to integrate into their websites. Once
10
     installed on a website, "the [P]ixel will log when someone takes an action on [that] website."10 As
11   Facebook explains, "[t]he Meta Pixel receives information about the actions, or events, that take place on
12 [an advertiser's] website."11 Automatic events are a category of actions that the Meta Pixel collects and

13   transmits from the website where it is installed without the advertiser being required to add any additional
     code.12 The collection and transmission of automatic events is sufficient for an Advertiser to create a
14
     Custom Audience and, consequently, a Lookalike Audience. Advertisers are also able to select from a set
15
     of Standard events, predefined by Facebook, which can also be collected and transmitted by the Meta
16

17
     7 Facebook, About Customer Audiences,
18   https://www.facebook.com/business/help/744354708981227?id=2469097953376494 (last visited Jan.
     18, 2023).
19
     8 Facebook, About Lookalike Audiences,
20   https://www.facebook.com/business/help/164749007013531?id=401668390442328 (last visited Jan. 18,
     2023).
21   9 Facebook, Create a Website Custom Audience,
     https://www.facebook.com/business/help/1474662202748341?1d=2469097953376494 (last visited Jan.
22   18, 2023).
     1° Facebook, About Meta Pixel,
23
     https://www.facebook.com/business/help/742478679120153?id=1205376682832142 (last visited Jan.
24   18, 2023).
     1 1 Facebook, About Automatic Events,
25   https://www.facebook.com/business/help/1292598407460746?id=1205376682832142 (last visited Jan.
     18, 2023).
26 '21d


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 1   Pixel, including, for example, what content a visitor views, subscribes to, or purchases.13 Finally,

 2 Advertisers are able to create their own "custom events" to be tracked and transmitted to Facebook by the

 3   Meta Pixe1.14
            50.      When a user accesses a website hosting a Meta Pixel, Facebook's software script
 4
     surreptitiously directs the user's computing device to send a separate message to Facebook's servers. This
 5
     second transmission, completely invisible and unknown to the user, contains the content of the original
6    request sent to the host website ("GET request"), along with the data that the Meta Pixel was configured
 7 to collect("POST request"). GET and POST requests are communications that contain contents from both
   the user and from servers associated with the website they are visiting. These transmissions are initiated
 8
   by Meta code and concurrent with the communications to and from the host website.
 9
           51.    The Meta Pixel acts as a conduit of information, sending the information it collects to Meta
10 through scripts running in the user's web browser. The information is sent in data packets labelled with

11   personally identifiable information, including the user's IP address.
            52.      Meta associates the information it obtains via Meta Pixel with other information regarding
12
     the user, using additional personal identifiers that are transmitted concurrently with other personal
13
     information the Pixel is configured to collect. Ifthe user has a Facebook account, these identifiers include
14 the "c_user" IDs, which allow Meta to link data to a particular Facebook account, and "xs" cookies

15   associated with a browsing session. For both Facebook account-holders and users who do not have a
     Facebook account, these identifiers also include cookies that Meta ties to their browser, such as "datr"
16
     and "fr" cookies.15
17
            53.      The c-user cookie is a means of identification for Facebook users. The c_user cookie value
18
     is the Facebook equivalent of a user identification number. Each Facebook user account has a unique
19 c_user cookie. Facebook uses the c_user cookie to record user activities and communications.

20          54.      Any computer user can find the Facebook account associated with a particular c-user
     cookie. One simply needs to log-in to Facebook, then type www.facebook.com/[c-user cookie]. For
21

22
     13 Facebook, Specifications for Meta Pixel Standard Events,
23
     https://www.facebook.com/business/help/402791146561655?id=1205376682832142 (last visited Jan.
24   18, 2023).
     14 Facebook, About Standard and Custom Website Events,
25   https://www.facebook.com/business/help/964258670337005?id=1205376682832142 (last visited Jan.
     18, 2023).
26   15 Meta, Cookies Policy (Oct. 5, 2022), https://www.facebook.com/policy/cookies.


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 1   example, the c-user cookie for Mark Zuckerberg is 4. Logging in to Facebook and typing

 2   www.facebook.com/4 in the web browser will retrieve Mark Zuckerberg's Facebook page.
            55.       The _datr cookie identifies the patient's specific web browser from which the patient is
 3
     sending the communication. It is an identifier that is unique to the patient's specific web browser and is
 4   therefore a means of identification for Facebook users and non-users. Facebook keeps a record of every
 5    datr cookie identifier associated with each of its users.

 6          56.       The fr cookie is a Facebook identifier that is an encrypted combination of the c_user and
      datr cookies.
 7
            57.       Meta warns developers and those who incorporate the Meta Pixel into their website that
 8
     the Meta Pixel is a personal identifier because it "relies on Facebook cookies, which enable us to match
 9   your website visitors to their respective Facebook User accounts."I6

10          58.       The Meta Pixel also automatically captures and discloses the IP address of the user. 113
     addresses are used to identify and route communications on the Internet. IP addresses of individual
11
     Internet users are used by websites and tracking companies to facilitate and track Internet
12
     communications. Individual homes and their occupants can be, and are, tracked and targeted with
13   advertising using IP addresses. Thus, IP addresses are personally identifiable, particularly in combination
14   with other information disclosed through the Meta Pixel.
     Defendant Disclosed Plaintiffs' and Class Members' Medical Information to Meta and Used Plaintiffs'
15
     and Class Members'Medical Informationfor its Own Purposes
16
            59.       Starting on date unknown and continuing to the present, Defendant embedded the Meta
17 Pixel on and throughout its website and transmitted Medical Information shared by Plaintiffs and Class

18   Members, without their consent, to Meta in accordance with the Meta Pixel's configuration.

19          60.       Rite Aid installed the Meta Pixel on its website — www.riteaid.com. When a Plaintiff or
     another Class Member visited that website and completed the steps necessary to make a vaccination
20
     appointment, the Meta Pixel automatically caused the Plaintiff's or Class Member's personal identifiers,
21   including IP addresses and the c_user, Jr, _datr, and _fbp cookies, to be transmitted to Meta, attached to
22 the fact that the Plaintiff or Class Member had visited the website and the titles of the webpages the

23 Plaintiff or Class Member visited.

24

25
     16 Facebook, Get Started, https://developers.facebook.com/docs/meta-pixel/get-started (last visited   Jan.
26   18, 2023).

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            61.      Rather than merely transmit the "automatic events" that the Meta Pixel automatically

 2 collects and transmits from a website without the website owner or developer being required to add any
   additional code, on information and belief, Defendant intentionally configured the Meta Pixel on its
 3
   website to track, collect, and disclose "custom events" such as:
 4
              a. the time ofthe vaccination appointment, and, on information and belief, the ID number of
 5                   the Rite Aid store at which the appointment was made;

 6                b. certain personal information entered by Class Members the state oftheir street address, sex
                     assigned at birth, and race;
 7
                  c. answers given by Class Members on the "Vaccine history" page, including answers to
 8                   questions such as: "Do you have allergies to medications, food (e.g. eggs), latex or any
 9                   vaccine component(e.g. neomycin,formaldehyde, gentamicin, thimerosal, bovine protein,

10                   phenol, polymyxin, gelatin, baker's yeast or yeast)?""Have you received a vaccine in the
                     past 4 weeks?""Have you ever had a serious reaction after receiving a vaccination?""Do
11
                     you have a neurological disorder such as seizures or other disorders that affect the brain or
12
                     have had a disorder that resulted from a vaccine (e.g. Guillain-Barre Syndrome)?""Have
13                   you had a pneumococcal vaccine? (You may need two different pneumococcal shots)"

14                  "Have you had a shingles vaccine?" "Have you had a whooping cough (Tdap/Td)
                     vaccine?";
15
                  d. answers given by Class Members on the "Health information" page, including answers to
16
                     questions such as:"Do you have any long-term health problems with heart disease, kidney
17                   disease, metabolic disorder (e.g. diabetes), anemia, or blood disorders?""Do you have a

18                   long term health problem with lung disease or asthma?""Do you have cancer, leukemia,
                     AIDS,or any other immune system problem?(In some circumstances you may be referred
19
                     to your physician.)""Do you take prednisone, other steroids, or anticancer drugs, or have
20
                     you had radiation treatments?" "During the past year, have you received a transfusion of
21                   blood or blood products, including antibodies?""Do you use any nicotine products?"; and,

22                e. answers given by Class Members on the "Caregiving & Pregnancy" page to the questions:
                    "Are you a parent, family member, or caregiver to a newborn infant?" "Are you pregnant
23
                     or could you become pregnant in the next three months?"
24
            62.      Moreover, the Meta Pixel on Defendant's website was also intentionally configured or
25   authorized to use a feature called "automatic advanced matching." That feature scans forms on a website

26   looking for fields that may contain personally identifiable information like a first name, last name, or


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 1   email address, and then causes that information to be disclosed to Meta. On Defendant's website this

 2 feature collected, at a minimum, the first names and last names of Plaintiffs and other Class Members
   entered on the Recipient Information page of the vaccination scheduling tool.
 3
          63.     The data collected by the automatic advanced matching feature is disclosed to Meta in an
 4
   obfuscated form know as a "hash." But Meta is able to determine the pre-obfuscated version of the data.
 5   Indeed, Meta uses the hashed information to link other data collected and disclosed by the Meta Pixel to

 6 Plaintiffs' and Class Members' Facebook and Instagram profiles.
           64.     Thus, put simply, when Plaintiffs or other Class Members used Defendant's website to
 7
   schedule a vaccination appointment, their identities, personal identifiers, and health information (together
 8
   their Medical Information) was disclosed to Meta.
 9          65.     On information and belief, Defendant disclosed Plaintiffs' and Class Members' Medical

10 Information to Meta in order to permit Defendant to improve its marketing and advertising. Thus,
   Defendant used Plaintiffs' and Class Members' Medical Information for its own marketing and
11
   advertising purposes.
12
   Defendant Used and Disclosed Plaintiffs' and Class Members' Medical Information Without
13 Plaintiffs' or Class Members'Knowled2e, Consent, Authorization, or Further Action

14          66.     The tracking tools incorporated into, embedded in, or otherwise permitted on Defendant's
     website were invisible to Plaintiffs and Class Members while using that website. The Meta Pixels on
15
     Defendant's website were seamlessly integrated into the website such that there was no reason for
16
     Plaintiffs or any Class Member to be aware of or to discover their presence.
17          67.     Plaintiffs and Class Members were shown no disclaimer or warning that their Medical

18   Information would be disclosed to any unauthorized third party without their express consent.
            68.     Plaintiffs and Class Members had no idea that their Medical Information was being
19
     collected and transmitted to an unauthorized third party.
20
            69.     Because Plaintiffs and Class Members had no idea of the presence of Meta Pixels on
21   Defendant's website, or that their Medical Information would be collected and transmitted to Meta, they

22 could not and did not consent to Rite Aid's conduct.
            70.     Plaintiffs and Class Members did not give consent or authorization for Defendant to
23
     disclose their Medical Information to Meta or to any third party for marketing purposes.
24
            71.     Moreover, Defendant's Notice of Privacy Practices, as described above, provided no
25   indication to Plaintiffs or Class Members that their Medical Information would be disclosed to Meta or

26   any unauthorized third party.


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     Plaintiffs and Class Members Had a Reasonable Expectation ofPrivacy in the Medical Information

 2 they Provided to Defendant
          72.    Plaintiffs and Class Members had a reasonable expectation of privacy in their Medical
 3
   Information.
 4               Information such as the Medical Information provided by Plaintiffs and other Class
          73.
 5   Members to Defendant is protected by California law under the Confidentiality of Medical Information

6    Act(CMIA). Cal. Civ. Code §§ 56, et seq.
            74.     Pursuant to Cal. Civ. Code § 56.05(i), "medical information," for the purposes of the
 7
     CMIA is defined as "any individually identifiable information, in electronic or physical form, in
 8
     possession of or derived from a provider of health care, health care service plan, pharmaceutical company,
9 or contractor regarding a patient's medical history, mental health application information, mental or

10   physical condition, or treatment." Section 56.06(i) further provides: "Individually identifiable' means
     that the medical information includes or contains any element of personal identifying information
11
     sufficient to allow identification of the individual, such as the patient's name, address, electronic mail
12
     address, telephone number, or social security number, or other information that, alone or in combination
13   with other publicly available information, reveals the identity of the individual."

14          75.     Information such as the Medical Information provided by Plaintiffs and other Class
     Members to Defendant is also protected by the HIPAA Privacy Rule.
15
            76.     The Health Insurance Portability and Accountability Act's Privacy Rule (HIPAA), 45
16
     C.F.R. 160.103 et seq., protects patient health information. HIPAA sets national standards for
17   safeguarding "protected health information." For example, HIPAA limits the permissible uses of

18   protected health information and prohibits disclosure of this information without explicit authorization.
     See 45 C.F.R. § 164.502. HIPAA also requires that covered entities, such as Defendant, implement
19
     appropriate safeguards to protect this information. See 45 C.F.R. § 164.530(c)(1).
20
            77.     Thus, state and federal laws reinforce the social norms and general expectation that
21   individually-identifiable health information is to be kept private and confidential.

22          78.     Accordingly, Plaintiffs and Class Members had a reasonable expectation of privacy
     regarding their Medical Information.
23
            79.     Privacy polls and studies also uniformly show that the overwhelming majority of
24
     Americans consider one ofthe most important privacy rights to be the need for an individual's affirmative
25   consent before a company collects and shares that individual's data.

26


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 1          80.     For example, a recent study by Consumer Reports shows that 92% of Americans believe

2 that internet companies and websites should be required to obtain consent before selling or sharing
  consumers' data, and the same percentage believe internet companies and websites should be required to
3
  provide consumers with a complete list of the data that has been collected about them.I7 Moreover,
4
  according to a study by Pew Research Center, a majority of Americans, approximately 79%, are
5 concerned about how data is collected about them by companies.I8

6           81.     And privacy law,experts have expressed concerns about the disclosure to third parties of a

 7   users' sensitive medical information, in particular. For example, Dena Mendelsohn — the former Senior
     Policy Counsel at Consumer Reports and current Director of Health Policy and Data Governance at
 8
     Elektra Labs — explained that having one's personal health information disseminated in ways one is
9
     unaware of could have serious repercussions, including affecting one's ability to obtain life insurance and
10   how much one pay for that coverage, increasing the rate one is charged on loans, and leaving one
11   vulnerable to workplace discrimination.I9

12   The MedicalInformation that Defendant Disclosed to Meta is Plaintiffs'and Class Members'Property,
     Has Economic Value, and its Unauthorized Disclosure Caused Economic Harm
13
            82.     It is common knowledge that there is an economic market for consumers' personal data —
14
     including the Medical Information that was disclosed by Defendant to Meta.
15          83.     In 2013, the Financial Times reported that the data-broker industry profits from the trade

16 of thousands of details about individuals, and that within that context, "age, gender, and location"
     information are sold for about"$0.50 per 1,000 people."2° This estimate was based upon "industry pricing
17
     data viewed by the Financial Times," at the time.2I
18

19
     17 Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey Finds,
20   CONSUMER REPORTS(May 11, 2017), https://www.consumerreports.org/consumerreports/ consumers-
     less-confident-about-healthcare-data-privacy-and-car-safety/.
21   18 Americans and Privacy: Concerned, Confused, and Feeling Lack of Control Over Their Personal
     Information, PEW RESEARCH CENTER,(Nov. 15, 2019),
22   https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-confusedand-
     feeling-lack-of-control-over-their-personal-information/.
23
     19 Donna Rosato, What Your Period Tracker App Knows About You, CONSUMER REPORTS(Jan. 28,
24   2020), https://www.consumerreports.org/health-privacy/what-your-period-tracker-app-knows-about-
     you/.
     20 Emily Steel, et al., How much is your personal data worth?, PIN. TIMES(June 12, 2013),
25
     https://ig.ft.com/how-much-is-your-personal-data-worthffiaxzz3myQiwm6u.
26   21
        Id.

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 1          84.     In 2015, TechCrunch reported that "to obtain a list containing the names of individuals

 2 suffering from a particular disease," a market participant would have to spend about "$0.30 per name."22
     That same report noted that "Data has become a stratefic asset that allows companies to acquire or
 3
     maintain a competitive edge" and that the value of a single user's data (within the corporate acquisition
 4
     context) can vary from $15 to more than $40 per user.23
 5
            85.     In 2021, a report from Invisibly found that personal medical information is one ofthe most
 6   valuable pieces ofdata within the data-market."It's worth acknowledging that because health care records

 7 often feature a more complete collection of the patient's identity, background, and personal identifying
   information (Pt!), health care records have proven to be ofparticular value for data thieves. While a single
 8
   social security number might go for $0.53, a complete health care records sells for $250 on average. For
 9
   criminals, the more complete a dataset, the more potential value they can get out of it. As a result, health
10 care breaches increased by 55% in 2020. 24

11          86.     Moreover, health information has value to consumers. According to the annual Financial

12 Trust Index Survey, conducted by the University of Chicago's Booth School of Business and
   Northwestern University's Kellogg School of Management, which interviewed more than 1,000
13
   Americans, 93 percent would not share their health data with a digital platform for free. Half ofthe survey
14
   respondents would only share their data for $100,000 or more, and 22 percent would only share their data
15   if they received between $1,000 and $100,000.25
16          87.     Given the existence of a market for the Medical Information disclosed by Defendant,
                           Plaintiffs and Class Members ofthe economic value oftheir Medical Information
17 Defendant has deprived
   by disclosing such data without authorization and without providing proper consideration for Plaintiffs'
18
   and other Class Members' property.
19                           TOLLING,CONCEALMENT,AND ESTOPPEL
20

21

22 22 Pauline Glickman and Nicholas Glady, What's the Value of Your Data?, TECHCRI_NCH (Oct. 13,
   2015), https://techcrunch.com/2015/10/13/whats-the-value-of-your-data/.
23 23
      Id.
24 24 How Much is Your Data Worth? The Complete Breakdownfor 2021, INVISIBLY.COM (July 13, 2021),
   https://www.invisibly.com/learn-blog/how-much-is-data-worth/.
25 25 Andrea Park, How much should health data cost? $100K or more, according to patients, Becker's
   Hosp. Rev.(Feb. 12, 2020), https://www.beckershospitalreview.com/healthcare-information-
26 technology/how-much-should-health-data-cost-100k-or-more-according-to-patients.html.


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 1           88.     Any applicable statutes of limitation have been tolled by Defendant's knowing and active

 2 concealment of its incorporation of the Meta Pixel into its website.
           89.     The Meta Pixel and other tracking tools on Defendant's website were and are entirely
 3
   invisible to a website visitor.
 4         90.     Through no fault or lack of diligence, Plaintiffs and Class Members were deceived and
 5   could not reasonably discover Defendant's deception and unlawful conduct.

 6          91.      Plaintiffs were ignorant of the information essential to pursue their claims, without any
     fault or lack of diligence on their part.
 7
            92.      Defendant had exclusive knowledge that its website incorporated the Meta Pixel and other
 8 tracking tools and yet failed to disclose to customers, including Plaintiffs and Class Members, that by

 9   booking vaccination appointments through Defendant's website Plaintiffs' and Class Members' Medical

10 Information would be disclosed or released to Meta.
          93.    Under the circumstances, Defendant was under a duty to disclose the nature, significance,
11
   and consequences of its collection and treatment of its customers' Medical Information. In fact, to the
12
   present Defendant has not conceded, acknowledged, or otherwise indicated to its customers that it has
13 disclosed or released their Medical Information to unauthorized third parties. Accordingly, Defendant is

14 estopped from relying on any statute of limitations.
          94.     Moreover, all applicable statutes of limitation have also been tolled pursuant to the
15
   discovery rule.
16
          95.     The earliest that Plaintiffs or Class Members, acting with due diligence, could have
17 reasonably discovered Defendant's conduct would have been shortly before the filing of this Complaint.

18                                ALLEGATIONS SPECIFIC TO PLAINTIFFS
             96.     In or about April 2021,Plaintiff Jane Doe I visited Rite Aid's website, while in California,
19
     and made an appointment for a vaccination.
20
            97.     In or about March 2021, Plaintiff Jane Doe II visited Rite Aid's website, while in
21   California, and made an appointment for a vaccination.

22          98.     In or about April 2022, Plaintiff Jane Doe III visited Rite Aid's website, while in
     California, and made an appointment for a vaccination.
23
            99.      On information and belief, Plaintiffs' Medical Information was disclosed to Meta.
24
             100.    Plaintiffs would not have used Rite Aid's to make a vaccination appointment had they
25   known that their Medical Information would be disclosed to unauthorized third parties.

26


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 1             101.   Plaintiff Jane Doe I, Plaintiff Jane Doe II, and Plaintiff Jane Doe III each believed that

2 because they were on the website of a healthcare provider and pharmacy, their respective Medical
  Information would be protected and kept confidential.
3
          102. None of the Plaintiffs saw anything on Defendant's website that suggested to any of them
4 that their respective Medical Information would be disclosed or released to an unauthorized third party.

 5             103.   Plaintiff Jane Doe I, Plaintiff Jane Doe II, and Plaintiff Jane Doe III, respectively, did not

6 authorize, consent to, or otherwise encourage or permit the release of their Medical Information to Meta
  or any other third party.
7
                                    CLASS ACTION ALLEGATIONS
8         104. Plaintiffs bring this action, on behalf of themselves and all others similarly situated, as a
 9 class action pursuant to Code of Civil Procedure § 382. Plaintiffs seek to represent a Class (whose

10   members are "Class Members")composed of and defined as:
               "All natural persons residing in California who used Defendant's website to make a vaccination
11
     appointment and whose Medical Information was disclosed or transmitted to Meta or any other
12
     unauthorized third party."
13             105.   Plaintiffs reserve the right to revise or amend the above Class definition and to add

14 subclasses based on facts learned in discovery.
          106. This action has been brought and may be properly maintained as a class action under the
15
   Code of Civil Procedure § 382 because there is a well-defined community of interest in the litigation, the
16
   proposed Class is easily ascertainable, and Plaintiffs are proper representatives of the Class.
17             107.   Numerosity. The potential members of the proposed Class, as defined, are more than one

18   million, and so numerous that joinder of all members of the Class is impracticable.
               108.   Typicality. Plaintiffs' claims are typical of the claims of the Class. Plaintiff Jane Doe I,
19
     Plaintiff Jane Doe II, and Plaintiff Jane Doe III all used Defendant's website to make a vaccination
20
     appointment and, on information and belief, their Medical Information was disclosed or transmitted to
21   Meta or another unauthorized third party.

22             109.   Commonality. Common questions offact and law exist as to all members ofthe Class and
     predominate over the questions affecting only individual members of the Class. These common questions
23
     include but are not limited to:
24
               a.      Whether Defendant's acts and practices violated Plaintiffs' and Class Members' privacy
25   rights;

26             b.      Whether Defendant's acts and practices violated California's Constitution, Art. 1, § 1;


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 1           c.      Whether Plaintiffs and Class Members had a reasonable expectation that their Medical

 2 Information would not be disclosed to third parties without authorization;
          d.     Whether Defendant's acts and practices violated the California Confidentiality of Medical
 3
   Information Act, Civil Code §§ 56 et seq.;
 4        e.     Whether the Medical Information disclosed by Defendant constitutes "medical
 5   information" within the meaning of Civil Code § 56.05(i);;

 6           f.      Whether Defendant obtained written consent to or permission for its conduct;
             g.      Whether Defendant's acts and practices violated the California Invasion of Privacy Act,
 7
     Penal Code §§ 630, et seq.;
 8           h.      Whether Defendant obtained express consent to or authorization for its conduct;
 9           i.      Whether Defendant's acts and practices violated Business and Professions Code §§ 17200,

10 et seq.;
           j.      Whether Defendant's acts and practices harmed Plaintiffs and Class Members;
11
            k.     Whether Plaintiffs and other Class Members are entitled to equitable relief, including but
12
   not limited to, restitution and disgorgement;
13           I.      Whether Plaintiffs and other Class Members are entitled to injunctive relief;

14           m.      Whether Plaintiffs and other Class Members are entitled to damages and other monetary
     relief; and
15
             n.      Whether Plaintiffs and Class Members are entitled to reasonable attorneys' fees and costs.
16
             1 10.   Adequacy of Representation. Plaintiffs are members of the Class and will fairly and
17 adequately represent and protect the interests of the Class. Plaintiffs' interests do not conflict with those

18 of Class Members, they have no conflict of interest with other Class Members, are not subject to any
   unique defenses, and have retained competent and experienced counsel.
19
           1 11. Superiority of Class Action. Class action treatment is superior to any alternative to ensure
20
   the fair and efficient adjudication of the controversy alleged herein. Such treatment will permit a large
21   number of similarly situated persons to prosecute their common claims in a single form simultaneously,

22 efficiently, and without the duplication of effort and expense that numerous individual actions would
   entail. If this action is not certified as a class action, it will be impossible as a practical matter for many
23
   or most Class Members to bring individual actions to recover money from Defendant, due to the relatively
24
   small amounts of such individual recoveries relative to the costs and burdens of litigation. Moreover,
25   individual Class Members do not have a significant interest in controlling the prosecution of separate

26


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 1   actions. Plaintiffs anticipate no difficulty in the management of this action which would preclude its

 2 maintenance as a class action.
          1 12. Plaintiffs reserve the right to add representatives for the Class, provided Defendant is
 3
   afforded an opportunity to conduct discovery as to those representatives.
 4                                     FIRST CAUSE OF ACTION
 5                   Common Law Invasion of Privacy — Intrusion into Private Matters

 6          1 13.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
     preceding paragraphs.
 7
            1 14.   Rite Aid's secret disclosure of Plaintiffs' and other Class Members' Medical Information,
 8   including each Class Member's first name, last name, other individually identifying information,
 9   information about their vaccine history, and information about their medical history, mental and physical

10 condition, and treatment, constitutes an intentional intrusion upon Plaintiffs' and Class Members' private
   matters that were intended to stay private from third parties.
11
          1 15. Plaintiffs and Class Members had a reasonable expectation of privacy in their Medical
12
   Information. Plaintiffs and Class Members did not consent to, authorize, or have any reason to know about
13 Rite Aid's intrusion into their privacy at the time it occurred.

14          1 16.   Defendant's intrusion into Plaintiffs' and Class Members' private affairs, seclusion, and
     solitude, would be highly offensive to a reasonable person.
15
            1 17.   Plaintiffs and Class Members expected that the Medical Information they shared with a
16
     provider of healthcare would not be disclosed to an unauthorized third party. Social norms and industry
17 standards inform the understanding that Medical Information is highly protected and that disclosure of

18 that information to third parties requires consent and authorization. The secret disclosure of Medical
   Information would be highly offensive to a reasonable person.
19
           1 18. Plaintiffs and Class Members have been harmed as a result of Defendant's actions,
20
   including by, but not limited to, an invasion of their privacy rights.
21          1 19.   Plaintiffs and Class Members seek appropriate relief for their injuries, including, but not

22 limited to, monetary damages to compensate for the harm to their privacy interests and disgorgement of
   profits made by Rite Aid as a result of its intrusions into Plaintiffs' and Class Members' private matters.
23
           120. Plaintiffs and Class Members are also entitled to punitive damages resulting from the
24
   malicious, willful, and intentional nature of Defendant's actions which were directed at invading
25   Plaintiffs' and Class Members' privacy rights in conscious disregard of those rights. Such damages are

26 necessary to deter Rite Aid from engaging in such conduct in the future.


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 1           121.     This action, if successful, will enforce an important right affecting the public interest and

 2   would confer a significant benefit on a large class of persons and/or the general public. Private
     enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to
 3
     Plaintiffs' stakes in the matter. Because this case is brought for the purposes of enforcing important rights
 4 affecting the public interest, Plaintiffs also seek the recovery of attorneys' fees and costs in prosecuting

 5   this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.

 6           122.     Plaintiffs, on behalf of themselves and the Class, request relief as further described below.
                                          SECOND CAUSE OF ACTION
 7
                     Invasion of Privacy and Violation of California Constitution, Art. 1,§ 1
 8           123.     Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
 9 preceding paragraphs.

10           124.     The right to privacy is enshrined in the California Constitution. Article 1, Section 1,
     provides: "All people are by nature free and independent and have inalienable rights. Among these are
11
     enjoying and defending life and liberty, acquiring, possessing, and protecting property, and pursuing and
12
     obtaining safety, happiness, and privacy."
13           125.    Plaintiffs and Class Members did not consent to or authorize Rite Aid to disclose their

14   Medical Information to unauthorized third parties. Indeed, Plaintiffs and Class Members had no
     knowledge that such information was being so disclosed and, consequently, had no opportunity to deny
15
     consent or authorization.
16
             126.    Plaintiffs and Class Members had a reasonable expectation of privacy in their personal
17   information, identities, and Medical Information pursuant to Article 1, Section 1, of the California

18   Constitution, social norms, and the expectations of privacy that attach to relationships and
     communications with providers of healthcare.
19
             127.    Rite Aid's disclosure of Plaintiffs' and Class Members' Medical Information constitutes
20
     an intentional invasion of private communications, information, and matters, and an egregious breach of
21   social norms.

22           128.    Rite Aid's conduct would be highly offensive to a reasonable person because the data
     disclosed was highly sensitive and personal, as protected by the California Constitution, and Rite Aid
23
     lacked consent or authorization to disclose such information.
24
             129.    Rite Aid's violation of the privacy rights of thousands of Class Members, including
25   Plaintiffs, without authorization or consent, constitutes an egregious breach of social norms.

26


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 1           130.   Plaintiffs and Class Members have sustained damages and will continue to suffer damages

 2 as a result of Defendant's invasion of their privacy.
           131. Plaintiff and Class Members seek appropriate relief for their injuries, including, but not
 3
   limited to, monetary damages to compensate for the harm to their privacy interests and disgorgement of
 4 profits made by Rite Aid as a result of its intrusions into Plaintiffs' and Class Members' private matters.

 5           132.   Plaintiffs and Class Members are also entitled to punitive damages resulting from the

6    malicious, willful, and intentional nature of Defendant's actions which were directed at invading
     Plaintiffs' and Class Members' privacy rights in conscious disregard of those rights. Such damages are
 7
     necessary to deter Rite Aid from engaging in such conduct in the future.
 8           133.   This action, if successful, will enforce an important right affecting the public interest and
 9   would confer a significant benefit on a large class of persons and/or the general public. Private

10 enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to
   Plaintiffs' stakes in the matter. Because this case is brought for the purposes of enforcing important rights
11
   affecting the public interest, Plaintiffs also seek the recovery of attorneys' fees and costs in prosecuting
12
   this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.
13           134.   Plaintiffs, on behalf of themselves and the Class, seek relief as further described below.

14                                        THIRD CAUSE OF ACTION
         Violation of California Confidentiality of Medical Information Act, Cal. Civ. Code § 56.101
15
             135.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
16
     preceding paragraphs.
17           136.   Cal. Civ. Code § 56.101(a) requires that every provider of health care "who creates,

18   maintains, preserves, stores, abandons, destroys, or disposes of medical information shall do so in a
     manner that preserves the confidentiality of the information contained therein."
19
             137.   Section 56.101(a) further provides, in pertinent part: "Any health care provider who
20
     "negligently creates, maintains, preserves, stores, abandons, destroys, or disposes of medical information
21   shall be subject to remedies and penalties provided under subdivisions(b)and (c) of Section 56.36."

22           138.   Rite Aid is, and all relevant times has been, a "provider of health care" within the meaning
     of §§ 56.101(a) and 56.05(m).
23
             139.   Plaintiffs and Class Members are "patients" as defined by Cal. Civ. Code § 56.05(j).
24
             140.   Rite Aid is a provider of health care who creates, maintains, preserves, stores, abandons,
25   destroys, or disposes of medical information, within the meaning of §§ 56.101(a) and 56.05(i).

26


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 1           141.    Rite Aid failed to maintain, preserve, and store Plaintiffs' and Class Members' medical

 2   information in a manner that preserves the confidentiality of the information contained therein because
     Rite Aid disclosed to Meta Plaintiffs' and Class Members' Medical Information, as defined and described
 3
     in this Complaint, including their first names, last names, and information about their medical histories,
 4
     physical conditions, mental conditions, and treatments.
 5           142.   Rite Aid's failure to maintain, preserve, and store medical information in a manner that

 6   preserves the confidentiality of the information was, at a minimum, negligent, and violates Civil Code §
     56.101(a).
 7
             143.    Accordingly, pursuant to Cal. Civil Code § 56.36, Plaintiffs and Class Members are
 8
     entitled to:(1)nominal damages of one thousand dollars ($1,000);(2)actual damages, in an amount to be
 9   determined at trial; and (3) statutory damages pursuant to Civil Code § 56.36(c); and (4) reasonable

10   attorneys' fees and the costs of litigation.
             144.   Plaintiffs, on behalf of themselves and the Class, seeks relief as further described below.
11
                                          FOURTH CAUSE OF ACTION
12
         Violation of California Confidentiality of Medical Information Act, Cal. Civ. Code § 56.10.
13           145.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the

14   preceding paragraphs.
             146.   Cal. Civil Code § 56.10(a) prohibits a health care provider, such as Rite Aid, from
15
     disclosing medical information without first obtaining an authorization, unless a statutory exception
16
     applies.
17           147.   Rite Aid disclosed medical information without first obtaining authorization when it

18   disclosed to Meta Plaintiffs' and Class Members' Medical Information, as defined and described in this
     Complaint, including their first names, last names, and information about their medical histories, physical
19
     conditions, mental conditions, and treatments. No statutory exception applies. As a result, Defendant
20
     violated Civil Code § 56.10(a).
21           148.   Rite Aid knowingly and willfully disclosed Plaintiffs' and Class Members' medical

22   information without consent to Meta for financial gain. Namely, to market and advertise its services, or
     to allow others to market and advertise their services, in violation of Civil Code § 56.10(a).
23
            149.    At the least, Rite Aid negligently disclosed Plaintiffs' and Class Members' medical
24
     information in violation of Civil Code § 56.10(a).
25           150.   Accordingly, pursuant to Cal. Civil Code § 56.35 and 56.36, Plaintiffs and Class Members

26   are entitled to:(1) nominal damages of one thousand dollars ($1,000);(2) actual damages, in an amount


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 1   to be determined at trial;(3) statutory damages pursuant to Civil Code § 56.36(c);(4) punitive damages

 2 ofthree thousand dollars ($3,000) pursuant to § 56.35; and (5)reasonable attorneys' fees and the costs of
   litigation.
 3
            151. Plaintiffs, on behalf of themselves and the Class, seek relief as further described below.
 4                                     FIFTH CAUSE OF ACTION
 5      Violation of California Invasion of Privacy Act(CIPA), California Penal Code §§ 630, et seq.

 6          152.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
     preceding paragraphs.
 7
             153.   The California Invasion of Privacy Act begins with its statement of purpose: "The
 8 legislature hereby declares that advances in science and technology have led to the development of new

 9 devices and techniques for the purpose of eavesdropping upon private communications and that the

10 invasion of privacy resulting from the continual and increasing use of such devices and techniques has
   created a serious threat to the free exercise of personal liberties and cannot be tolerated in a free and
11
   civilized society. The Legislature by this chapter intends to protect the right of privacy of the people of
12
   this state." Cal. Penal Code § 630.
13           154.   Cal. Penal Code § 631(a) provides, in pertinent part: "Any person who, by means of any

14   machine, instrument,or contrivance, or in any other manner, intentionally taps, or makes any unauthorized
     connection, whether physically, electrically, acoustically, inductively, or otherwise, with any telegraph or
15
     telephone wire, line, cable, or instrument, including the wire, line, cable, or instrument of any internal
16
     telephonic communication system, or who willfully and without the consent of all parties to the
17 communication, or in any unauthorized manner, reads, or attempts to read, or to learn the contents or

18   meaning of any message, report, or communication while the same is in transit or passing over any wire,
     line, or cable, or is being sent from, or received at any place within this state; or who uses, or attempts to
19
     use, in any manner, or for any purpose, or to communicate in any way, any information so obtained, or
20
     who aids, agrees with, employs, or conspires with any person or persons to unlawfully do, or permit, or
21   cause to be done any of the acts or things mentioned above in this section, is punishable by a fine not

22 exceeding two thousand five hundred dollars($2,500)..."
          155. Defendant is a "person" within the meaning of Cal. Penal Code § 631.
23
          156. The Meta Pixel and Plaintiffs' and Class Members' browsers, and Plaintiffs' and Class
24
   Members' computing and mobile devices qualify as a "machine, instrument, contrivance or . . . other
25   manner" under this statute.

26


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 1          157.    Plaintiffs' and Class Members' communications of Medical Information with Defendant

 2 on and through Defendant's website were intended to be confined to the parties. Plaintiffs and Class
   Members were using what they understood to be Defendant's secure appointment scheduling tool and
 3
   secure website and no indication was given that their Medical Information would be shared with or viewed
 4 by any unauthorized third party. The circumstances reasonably indicate that Plaintiffs and Class Members

 5   desired their communications with Defendant to be confined to the parties thereto.

6           158.    Despite not having any authorization from Plaintiffs or Class Members, Defendant aided,
     agreed with, or conspired with Meta, to permit Meta to intercept these communications and to learn the
 7
     content of those communications while in transit or in the process of being sent or received.
 8          159.    Defendant's conduct, as described above, violated Penal Code § 631. Under Penal Code §
 9 637.2, Plaintiffs and Class Members are entitled to recover the greater of: (1) five thousand dollars

10 ($5,000) per violation; or(2)three times the amount of actual damages according to proof at trial, as well
    as injunctive or other equitable relief.
11
            160. Plaintiffs and Class Members have also suffered irreparable injury from these unauthorized
12
    acts of disclosure. Their personal, private, and sensitive Medical Information has been collected, viewed,
13 accessed, stored, and used by Meta, and has not been destroyed. Due to the continuing threat of such

14   injury, Plaintiffs and Class Members have no adequate remedy at law and are entitled to injunctive relief.
     Plaintiffs and Class Members seek a permanent injunction under Penal Code § 637.2 enjoining Defendant
15
     from engaging in further conduct in violation of Cal. Penal Code § 630, et seq.
16
            161.    Plaintiffs, on behalf of themselves and the Class, seek relief as further described below.
17                                        SIXTH CAUSE OF ACTION

18                                              Breach of Contract
            162.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
19
     preceding paragraphs.
20
            163.    In its Notice of Privacy Practices, as described above, Defendant set out specific limited
21   purposes for which it would use or disclose Plaintiffs' and Class Members' Medical Information.

22          164.    Defendant's disclosure of Plaintiffs' and Class Members' Medical Information to Meta
     does not fall within any required or permissible uses or disclosures that Defendant set out in its Notice of
23
     Privacy Practices.
24
            165.    Moreover, Defendant specifically promised: "We will obtain your written Authorization
25   before using or disclosing protected health information about you for marketing purposes, to sell your

26


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 1   protected health information, or for purposes other than those listed above or otherwise permitted or

 2 required by law."
           166. Plaintiffs and other Class Members did not provide any written authorization for Defendant
 3
   to disclose their Medical Information to Meta or to use their Medical Information for Defendant's own
 4 marketing purposes.

 5          167.   Plaintiffs and other Class Members accepted Defendant's promises to protect their Medical

 6 Information in accordance with Defendant's Notice ofPrivacy Practices, and not to disclose their Medical
   Information to third parties without express consent or authorization, when they used Defendant's website
 7
   to make vaccination appointments.
 8        168. Plaintiffs and Class Members fully performed their obligations under their contracts with
 9 Defendant, including entering their Medical Information into Defendant's.website and using Defendant's

10   website to make vaccination appointments.
            169.   Defendant did not perform consistent with its obligations under the contract. Defendant
11
     secretly disclosed Plaintiffs' and Class Members' Medical Information to Meta in violation of
12
     Defendant's agreement with Plaintiffs and Class Members.
13          170.   As a direct and proximate result of Defendant's breaches of its contracts, Plaintiffs and

14 Class Members sustained damages as alleged herein. Plaintiffs and Class Members would not have used
   Defendant's website to make a vaccination appointment or would not have entered their medical
15
   information into Defendant's website had they known their Medical Information would be disclosed.
16
          171. Plaintiff and Class Members are entitled to compensatory and consequential damages as a
17 result of Defendant's breach of contract.

18          172.   Plaintiffs, on behalf of themselves and the Class, seek relief as further described below.
                                       SEVENTH CAUSE OF ACTION
19
                               Breach of Implied Contract(in the alternative)
20
            173.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
21   preceding paragraphs.

22          174.   When Plaintiffs and Class Members used Defendant's website to make a vaccination
     appointment and entered their Medical Information in order to make that appointment, they entered
23
     implied contracts pursuant to which Defendant agreed to safeguard and not disclose their Medical
24
     Information without authorization or consent.
25          175.   Plaintiffs and Class Members accepted Defendant's offers and provided their Medical

26 Information to Defendant.


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 1          176.    Plaintiffs and Class members would not have entrusted Defendant with their Medical

 2 Information in the absence of an implied contract between them and Defendant obligating Defendant not
   to disclose this information without consent.
 3
           177. Defendant breached these implied contracts by disclosing Plaintiffs' and Class Members'
 4 Medical Information to Meta.

 5          178.    As a direct and proximate result of Defendant's breaches of these implied contracts,

 6 Plaintiffs and Class Members sustained damages as alleged herein. Plaintiffs and Class Members would
   not have used Defendant's website to make a vaccination appointment or would not have entered their
 7
   medical information into Defendant's website had they known their Medical Information would be
 8 disclosed.

 9          179.    Plaintiffs and Class Members are entitled to compensatory and consequential damages as

10 a result of Defendant's breach of implied contract.
           180. Plaintiffs, on behalf of themselves and the Class, seek relief as further described below.
11
                                       EIGHTH CAUSE OF ACTION
12
                 Violation of California Business & Professions Code §§ 17200 et seq.(UCL)
13          181.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the

14   preceding paragraphs.
            182.    The UCL prohibits unfair competition in the form of any unlawful, unfair, or fraudulent
15
     business act or practice. Cal. Bus. & Prof. Code § 17204 allows "any person who has suffered injury in
16
     fact and has lost money or property" to prosecute a civil action for violation of the UCL. Such a person
17   may bring such an action on behalf of themselves and others similarly situated, who are affected by the

18   unlawful, unfair, or fraudulent business practice or practices.
            183.    Rite Aid's acts, omissions, practices, and non-disclosures as alleged herein constituted
19
     unlawful, unfair, and fraudulent business acts and practices within the meaning of Cal. Bus.& Prof. Code
20
     §§ 17200, et seq.(UCL).
21          184.    Defendant engaged in "unlawful" business acts and practices, as set forth above: in

22 violation of the common law; in violation of the California Constitution; and in violation of California
   statutes, including the Confidentiality of Medical Information Act and the California Invasion of Privacy
23
   Act.
24
           185. Plaintiffs reserve the right to allege other violations of law committed by Defendant that
25   constitute unlawful business acts or practices within the meaning of the UCL.

26


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 1          186.    Defendant has also engaged in "unfair" business acts and practices. California has a strong

 2 public policy of protecting consumers' privacy interests, including consumers' personal data. Rite Aid
   violated this strong public policy by, among other things, surreptitiously disclosing, releasing, and
 3
   otherwise misusing Plaintiffs' and Class Members' Medical Information without Plaintiffs' and Class
 4 Members' consent. Rite Aid's acts and practices violate the policies underlying the statutes and the article

 5   of the California Constitution referenced herein.

 6          187.    Defendant's acts and practices are also "unfair" in that they are immoral, unethical,
     oppressive, unscrupulous, and/or substantially injurious to consumers. Defendant secretly disclosed,
 7
     released, and otherwise misused Plaintiffs' and Class Members' Medical Information, with no
 8 corresponding benefit to its affected customers. And, because consumers were unaware of Defendant's

 9   incorporation of tracking tools into its website and that Defendant would disclose and release their

10 Medical Information to unauthorized third parties, they could not have avoided the harm.
          188. Had Plaintiffs and Class Members known that their Medical Information would be
11
   disclosed or released by Defendant to unauthorized third parties, they would not have shared their Medical
12
   Information with Defendant's website or would not have used Defendant's website.
13          189.    The UCL also prohibits any "fraudulent business act or practice." Defendant's above-

14   described nondisclosures and misleading statements were false, misleading, and likely to deceive the
     consuming public in violation ofthe UCL.
15
            190.    Plaintiffs and Class Members suffered injury in fact and lost money or property as a result
16
     of Defendant's acts and practices in that a portion of any money Plaintiffs and Class Members paid for
17 Defendant's services, including giving vaccinations, went to fulfill Defendant's obligations with respect

18 to the confidentiality and security of Plaintiffs' and Class Members' Medical Information, and Defendant
   failed to fulfill those obligations.
19
            191. Plaintiffs and Class Members also suffered injury in fact as a result of Defendant's acts
20
   and practices because they paid more for Defendant's services than they otherwise would have had they
21   known Defendant was disclosing their Medical Information to unauthorized third parties in violation of

22   its legal obligations, social norms, and reasonable consumer expectations.
            192.    Plaintiffs and Class Members have also suffered (and will continue to suffer) economic
23
     damages and other injury and actual harm in the form of, inter alia:(i) invasion of privacy;(ii) breach of
24
     the confidentiality of their Medical Information; and/or (iii) deprivation of the value of their Medical
25   Information for which there is a well-established national and international market.

26


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 I           193.   Plaintiffs seek a declaration from the Court that Defendant's conduct alleged herein

 2 constitutes a violation of Bus. & Prof. Code §§ 17200 et seq. under the unlawful, unfair, and fraudulent
   prongs of the UCL.
 3
           194. Absent injunctive relief from the Court, Defendant is unlikely to fully correct its illegal
 4 conduct. Defendant has not acknowledged its wrongful disclosure and release of Plaintiffs' and Class

 5   Members' Medical Information, it has not announced any changes to is practices regarding its treatment

 6 ofPlaintiffs' and Class Members' Medical Information, and,on information and belief, it has not removed
   the offending tracking tools from its website. Plaintiffs seek an order from this Court for themselves, the
 7
   Class Members, and the general public, requiring Defendant to correct its illegal conduct and requiring
 8 Defendant to issue a comprehensive notice to affected consumers.

 9           195.   Plaintiffs also seek restitution on behalf ofthemselves and the Class.

10           196.   This action, if successful, will enforce an important right affecting the public interest and
     would confer a significant benefit on a large class of persons and/or the general public. Private
11
     enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to
12
     Plaintiffs' stakes in the matter. Because this case is brought for the purposes of enforcing important rights
13 affecting the public interest, Plaintiffs also seek the recovery of attorneys' fees and costs in prosecuting

14 this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.
           197. Plaintiffs, on behalf ofthemselves and the Class, seek relief as further described below.
15
                                         PRAYER FOR RELIEF
16
           WHEREFORE, Plaintiffs, on behalf of themselves and other Class Members, pray for judgment
17 against Defendant as follows:

18           198.   Ordering that this action may proceed and be maintained as a class action under § 382 of
     the Code of Civil Procedure; and defining the Class as specified above and appointing Plaintiffs as
19
     Representatives of the Class and their attorneys as Counsel for the Class;
20
             199.   Awarding Plaintiffs and Class Members compensatory damages, disgorgement of profits,
21   and punitive damages for Defendant's invasion of privacy and violation of Article 1, Section 1 of the

22 California Constitution;
           200. Awarding Plaintiffs and Class Members nominal damages of $1,000 per violation, or
23
   actual damages, and reasonable attorneys' fees and the costs of litigation, for Defendant's violations of
24
   California's Confidentiality of Medical Information Act, Cal. Civil Code § 56.101;
25          201.    Awarding Plaintiffs and Class Members nominal damages of $1,000 per violation, or

26 actual damages, punitive damages of $3,000 per violation, and reasonable attorneys' fees and the costs of


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 1   litigation, for Defendant's violations of California's Confidentiality of Medical Information Act, Cal.

 2   Civil Code § 56.10;
             202.    Awarding Plaintiffs and Class Member's statutory damages of$5,000 per violation, or three
 3
     times the amount of actual damages, and injunctive relief for Defendant's violations of California's
 4
     Invasion of Privacy Act, Penal Code §§ 630 et seq.;
 5           203.    Awarding compensatory and consequential damages for Defendant's breach of contract

 6 or, in the alternative, Defendant's breach of implied contract;
           204. Declaring that Defendant's conduct alleged herein constitutes a violation of Bus. & Prof.
 7
   Code §§ 17200 et seq. under the unlawful, unfair, and fraudulent prongs of the UCL;
 8
           205. Awarding Plaintiffs and Class Members restitution and injunctive relief for Defendant's
 9   violations of the UCL, Cal. Bus. & Prof. Code §§ 17200 et seq.;

10           206.    Awarding attorneys' fees and costs as authorized by statute and governing law, including
     Code of Civil Procedure § 1021.5; and
11
             207.    Awarding such other and further relief, at law and in equity, as the nature of this case may
12
     require or as this Court deems just and proper.
13                                        DEMAND FOR JURY TRIAL

14           Plaintiffs, on behalf of themselves and other members of the Class hereby demand a jury trial on
     all issues so triable.
15

16
     DATED: February 13, 2023                      Respectfully submitted,
17

18
                                                   /s/ Julian Hammond
19                                                 Julian Hammond
                                                   Attorneysfor Plaintiffs and the Putative Classes
20

21

22

23

24

25

26


                                               CLASS ACTION COMPLAINT
                                                        - 30-
                                  Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 41 of 79                                                          POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                     FOR COURT USE ONLY
    JULIAN HAMMOND | SBN: 268489
    HAMMONDLAW, P.C.
    1201 PACIFIC AVE #600 TACOMA, WA 98402
   TELEPHONE NO.:   (310) 601-6766 | FAX NO. (310) 295-2385 | E-MAIL ADDRESS:
           ATTORNEY FOR :  Plaintiff:

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
         STREET ADDRESS:    1225 FALLON STREET
         MAILING ADDRESS:

         CITY AND ZIP CODE: OAKLAND,   CA 94612
             BRANCH NAME:



      PLAINTIFF: JANE DOE I                                                                           CASE NUMBER:

                                                                                                      23CV027782
   DEFENDANT: RITE AID CORPORATON, A DELAWARE CORPORATION

                                     PROOF OF SERVICE OF SUMMONS                                      Ref. No. or File No.:



1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.     Summons
   b.     Complaint
   c.      Alternative Dispute Resolution (ADR) package
   d.      Civil Case Cover Sheet (served in complex cases only)
   e.      Cross-complaint
   f.     other: Notice of Complex Determination Hearing; Civil Case Cover Sheet; Notice of Case Management Conference
3. a. Party served (specify name of party as shown on documents served):
    RITE AID CORPORATON, A DELAWARE CORPORATION
    b.    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
     DAISY MONTENEGRO, INTAKE SPECIALIST, CT CORPORATION SYSTEM - AGENT FOR SERVICE OF PROCESS
4. Address where the party was served: CT CORPORATON SYSTEM
                                       330 N. BRAND BLVD., #700
                                       GLENDALE, CA 91203
5. I served the party (check proper box)
   a.    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 2/27/2023 (2) at (time): 12:48 PM
   b.     by substituted service. On (date): at (time): I left the documents listed in item 2 with or
          in the presence of (name and title or relationship to person indicated in item 3b):
             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                        of the person to be served, other than a United States Postal Service post office box. I informed him of her of the
                        general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or    a declaration of mailing is attached.

             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                          Page 1 of 2
Form Approved for Mandatory Use                                                                                                      Code of Civil Procedure, § 417.10
Judicial Council of California                          PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                         POS010-1/LA261406
          PETITIONER: JANE Case
                           DOE I          3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 42NUMBER:
                                                                                      CASE   of 79
                                                                                                                              23CV027782
      RESPONDENT: RITE AID CORPORATON, A DELAWARE CORPORATION


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                                   (2) from (city):
                (3)        with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                           (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):



           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.    On behalf of (specify):         RITE AID CORPORATON, A DELAWARE CORPORATION
                under the following Code of Civil Procedure section:

                                  416.10 (corporation)                               415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                       416.60 (minor)
                                   416.30 (joint stock company/association)           416.70 (ward or conservatee)
                                   416.40 (association or partnership)                416.90 (authorized person)
                                   416.50 (public entity)                             415.46 (occupant)
                                                                                      other:

7. Person who served papers
   a. Name: MARK MANCHESTER, C.C.P.S. - REZAC-MEYER ATTORNEY SERVICE
   b. Address: 1451 WILSHIRE BLVD., SUITE 550 LOS ANGELES, CA 90017
   c. Telephone number: (213) 481-1770
   d. The fee for service was: $ 86.65
   e. I am:

          (1)         not a registered California process server.
          (2)         exempt from registration under Business and Professions Code section 22350(b).
          (3)    registered California process server:
                  (i)      owner               employee                       independent contractor.
                  (ii) Registration No.: 2014253874
                  (iii) County: LOS ANGELES

8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.



                Date: 2/28/2023




                        MARK MANCHESTER, C.C.P.S.
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                     (SIGNATURE)




POS-010 [Rev January 1, 2007]                                                                                                                Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/LA261406
              Case 3:23-cv-01495 Document 1-1 Filed 03/29/23 Page 43 of 79




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 5
     HAMMONDLAW, P.C.
 6   1201 Pacific Ave, 6th Floor
     Tacoma, WA 98402
 7   (310) 601-6766
     (310) 295-2385 (Fax)
 8   Attorneys for Plaintiffs and the Putative Classes

 9
                         SUPERIOR COURT FOR THE STATE OF CALIFORNIA
10

11                                         COUNTY OF ALAMEDA

12
     JANE DOE I, JANE DOE II, JANE DOE III,              CASE NO. 23CV027782
13   and JANE DOE IV, on behalf of themselves and
     all others similarly situated,                      FIRST AMENDED CLASS ACTION
14                                                       COMPLAINT FOR:
                    Plaintiffs,
15                                                        (1) Invasion of Privacy—Intrusion into
     vs.                                                      Private Matters;
16
                                                          (2) Invasion of Privacy and Violation of
17                                                            California Constitution, Art. 1, § 1;
                                                          (3) Violation of Confidentiality of Medical
     RITE AID CORPORATION, a Delaware                         Information Act (CMIA), California Civil
18
     Corporation,                                             Code § 56.101;
19                                                        (4) Violation of CMIA, California Civil Code
                    Defendant.                                § 56.10;
20                                                        (5) Violation of the Electronic
                                                              Communications Privacy Act, 18 U.S.C. §§
21                                                            2510 et seq.;
                                                          (6) Violation of California Invasion of Privacy
22                                                            Act (CIPA), Penal Code §§ 630, et seq.;
                                                          (7) Breach of Contract;
23                                                        (8) Breach of Implied Contract (in the
                                                              alternative); and
24
                                                          (9) Violation of Business & Professions Code
25                                                            §§ 17200 et seq. (UCL)

26                                                       DEMAND FOR JURY TRIAL

27
                                      FIRST AMENDED CLASS ACTION COMPLAINT
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 1             Plaintiffs Jane Doe I, Jane Doe II, Jane Doe III, and Jane Doe IV (“Plaintiffs”), on behalf of

 2   themselves and all others similarly situated, by and through their attorneys of record, HammondLaw, P.C.,
     complain and allege the following, based upon personal knowledge, where applicable, information and
 3
     belief, and the investigation of counsel:
 4                                                  INTRODUCTION
 5             1.        This is a privacy class action under California Code of Civil Procedure § 382 seeking

 6   damages (including but not limited to compensatory, statutory, and punitive damages), civil penalties,
     restitution, disgorgement of profits, declaratory relief, injunctive relief, and reasonable attorney’s fees and
 7
     costs pursuant to California Business & Professions Code § 17203, California Civil Code §§ 56.35, 56.36,
 8   California Penal Code § 637.2, 18 U.S.C. § 2520, and California Code of Civil Procedure § 1021.5 on
 9   behalf of the members of the classes, as defined below.

10             2.        During the Class Period, Defendant Rite Aid Corporation (hereinafter, “Rite Aid” or
     “Defendant”) operated one of the largest chains of pharmacies in the United States, delivering health care
11
     services and retail products to over one million Americans daily.1 As of February 26, 2022, Defendant
12
     operated 2,450 retail drugstores in seventeen states, with approximately one-third on the West Coast: 526
13   stores in California, 196 in Washington, and 71 in Oregon.2 Defendant also maintained and operated, and
14   continues to maintain and operate, a website – https://www.riteaid.com – through which its customers
15   can, among other things, learn about Defendant’s services, find Rite Aid stores, fill their prescriptions,
     book various medical tests, schedule a number of different vaccinations, and otherwise interact with
16
     Defendant.3
17
               3.        In the most recent reported year, fiscal 2022 (52 weeks ending Feb. 26, 2022), one of the
18   primary focuses of Rite Aid’s marketing activities was “[d]riving the awareness of COVID-19 vaccination
19   and testing, as well as flu and ancillary immunizations.”4 Rite Aid also reported “delivering 14 million
     [COVID-19] vaccine doses,” and stated that “Pharmacy same store sales increased 7.9%” in fiscal 2022,
20

21   1
       Rite Aid Corporation, Fiscal 2022 Annual Report, Form 10-K, p. 5 (2022)
     (https://s27.q4cdn.com/633053956/files/doc_financials/2022/ar/d3b229ff-5147-4849-bfe1-
22
     13cec0816db9.pdf).
23   2
         Id. at p. 41.
     3
24       Rite Aid Home Page, https://www.riteaid.com (last visited, Feb. 7, 2023).
     4
25     Rite Aid Corporation, Fiscal 2022 Annual Report, Form 10-K, pp. 11-12 (2022)
     (https://s27.q4cdn.com/633053956/files/doc_financials/2022/ar/d3b229ff-5147-4849-bfe1-
26   13cec0816db9.pdf).

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 1   and that this was due, in part, to Rite Aid’s “COVID-19 vaccination program.”5 In that same year, the

 2   revenue achieved by Rite Aid’s Retail Pharmacy Segment was $17.49 billion.6
               4.        When Plaintiffs and other customers used Defendant’s website in order to make a
 3
     vaccination appointment, they were required to provide personal information, including their first name,
 4   last name, street address, city, state, zip code, sex assigned at birth, race, and whether they are of
 5   "Hispanic, Latino/Latina, or Spanish Origin.”

 6             5.        Plaintiffs and other customers were subsequently required to provide details of their
     medical history including answers to questions such as, for example: “Do you have a neurological disorder
 7
     such as seizures or other disorders that affect the brain or have had a disorder that resulted from a vaccine
 8   (e.g. Guillain-Barre Syndrome)?” “Have you had a shingles vaccine?” “Have you had a whooping cough
 9   (Tdap/Td) vaccine?” “Do you have a long term health problem with lung disease or asthma?” “During

10   the past year, have you received a transfusion of blood or blood products, including antibodies?” “Are
     you pregnant or could you become pregnant in the next three months?”
11
               6.        Unbeknownst to Plaintiffs and other customers, the answers they gave to these questions,
12   along with their personal information and personal identifiers, were secretly disclosed to Meta Platforms,
13   Inc. (formerly known as Facebook) (“Meta” or “Facebook”), an unauthorized third party.

14             7.        Through the Meta Pixel, a tracking tool intentionally incorporated by Rite Aid in its
     website source code or otherwise affirmatively permitted on its website by Rite Aid, for customers who
15
     made a vaccination appointment, including Plaintiffs, Defendant disclosed individually identifying
16
     information and information regarding their medical history, mental and physical condition, and treatment
17   (hereinafter “Medical Information”), to Meta, all without its customers’ knowledge and/or consent.

18             8.        Thus, through its actions and practices, Rite Aid has disclosed and released Medical
     Information to Meta. This massive breach of confidentiality and privacy has, on information and belief,
19
     affected millions of Rite Aid’s customers in the state of California and millions of Rite Aid’s customers
20
     nationwide.
21             9.        Plaintiffs bring this class action on behalf of themselves and all natural persons residing in

22   California who used Defendant’s website to make a vaccination appointment and whose Medical
     Information was disclosed or transmitted to Meta or any other unauthorized third party (hereinafter,
23
     “California Class Members”).
24

25   5
         Id. at pp. 7, 56.
     6
26       Id. at p. 55.

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 1           10.     Plaintiffs also bring this class action on behalf of themselves and all natural persons who

 2   used Defendant’s website to make a vaccination appointment and whose Medical Information was
     disclosed or transmitted to Meta or any other unauthorized third party (hereinafter, “Nationwide Class
 3
     Members,” and, collectively with California Class Members, hereinafter “Class Members”).
 4           11.     Rite Aid’s actions constitute an extreme invasion of Plaintiffs’ and Class Members’
 5   privacy. Rite Aid’s actions also violated common law, the California Constitution, and numerous federal

 6   and state statutes.
                                                     PARTIES
 7
             12.     Plaintiff Jane Doe I, is a citizen of California, residing in Cerritos, Los Angeles County,
 8   California. Plaintiff Jane Doe I used Defendant’s website to book a vaccination appointment in or about
 9   April 2021. As a result, her Medical Information was disclosed to Meta without her knowledge, consent,

10   or authorization.
             13.     Plaintiff Jane Doe II, is a citizen of California, residing in Van Nuys, Los Angeles County,
11
     California. Plaintiff Jane Doe II used Defendant’s website to book a vaccination appointment in or about
12   March 2021. As a result, her Medical Information was disclosed to Meta without her knowledge, consent,
13   or authorization.

14           14.     Plaintiff Jane Doe III, is a citizen of California, residing in Brea, Orange County,
     California. Plaintiff Jane Doe III used Defendant’s website to book a vaccination appointment in or about
15
     April 2022. As a result, her Medical Information was disclosed to Meta without her knowledge, consent,
16
     or authorization.
17           15.     Plaintiff Jane Doe IV, is a citizen of California, residing in Los Angeles, Los Angeles

18   County, California. Plaintiff Jane Doe IV used Defendant’s website to book a vaccination appointment in
     or about October 2022. As a result, her Medical Information was disclosed to Meta without her
19
     knowledge, consent, or authorization.
20
             16.     Defendant Rite Aid Corporation, is a Delaware Corporation. Rite Aid’s principal place of
21   business, as listed with the California Secretary of State, is 30 Hunter Lane, Camp Hill, Pennsylvania

22   17011. On information and belief, Rite Aid has moved its corporate headquarters and principal place of
     business to 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
23
                                                 JURISDICTION
24
             17.     This Court has jurisdiction over Plaintiffs’ and California Class Members’ claims for
25   compensatory damages, disgorgement of profits, and punitive damages arising from Defendant’s invasion
26   of privacy and violation of Article 1, Section 1 of the California Constitution.

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 1          18.     This Court has jurisdiction over Plaintiffs’ and California Class Members’ claims for

 2   nominal damages, actual damages, statutory damages, punitive damages, and reasonable attorneys’ fees
     and costs arising from Defendant’s violation of the California Confidentiality of Medical Information Act,
 3
     Cal. Civil Code §§ 56 et seq.
 4          19.     This Court has jurisdiction over Plaintiffs’ and Nationwide Class Members’ claims for
 5   equitable and declaratory relief, statutory damages of $10,000, or the sum of the actual damages and any

 6   profits made by Rite Aid as a result of its violations, and reasonable attorneys’ fees and costs arising from
     Defendant’s violation of the Electronic Communications Privacy Act, 18 U.S.C. § 2510 et seq.
 7
            20.     This Court has jurisdiction over Plaintiffs’ and California Class Members’ claims for
 8   statutory damages of $5,000 per violation, or three times the amount of actual damages, arising from
 9   Defendant’s violation of the California Invasion of Privacy Act, Penal Code §§ 630 et seq.

10          21.     This Court has jurisdiction over Plaintiffs’ and Nationwide Class Members’ claims for
     breach of contract and, in the alternative, breach of implied contract.
11
            22.     This Court has jurisdiction over Plaintiffs’ and California Class Members’ claims for
12   restitution and declaratory and injunctive relief arising from Defendant’s unlawful, unfair, and fraudulent
13   business practices under Cal. Bus. & Prof. Code §§ 17200 et seq.

14          23.     This Court has jurisdiction over Plaintiffs’ and California Class Members’ claims for
     reasonable attorneys’ fees and costs pursuant to § 1021.5 of the California Code of Civil Procedure.
15
            24.     This Court has personal jurisdiction over the parties because Defendant has continuously
16
     and systematically conducted business in the State of California. Likewise, Plaintiffs are California
17   residents whose rights were violated in the State of California as a result of their contact with Defendant

18   from and within California.
                                                      VENUE
19
            25.     Venue is proper in this Court pursuant to California Code of Civil Procedure § 395.
20
     Defendant is a foreign corporation and has not designated with the California Secretary of State a principal
21   place of business in California. Thus, venue is proper in any county within California.

22                                         FACTUAL BACKGROUND
     In Order for Plaintiffs and Class Members to Make Vaccination Appointments on its Website,
23
     Defendant Required Them to Input Medical Information
24
            26.     Throughout the Class Period, Defendant maintained and operated websites (including
25   www.riteaid.com), through which Defendant has encouraged and permitted consumers to make
26   appointments for a variety of vaccinations, including vaccinations for: COVID-19; flu; shingles; Tdap

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 1   (Tetanus, Diphtheria, Pertussis); DTaP (Diphtheria, Tetanus, Pertussis); Hepatitis A & B; Hepatitis A;

 2   Hepatitis B; HPV; Meningitis; Measles, Mumps, & Rubella; and, Chicken Pox (Varicella).
            27.      To begin the process of making a vaccination appointment, when a Class Member visited
 3
     Defendant’s website they could, from the home page, click on the “Schedule Vaccinations” button.
 4   Having clicked on that button, the Class Member would be taken to a page with the heading “Schedule
 5   an Appointment,” and would be required to enter her ZIP code and the “Vaccine recipient’s date of birth

 6   (MM/DD/YYYY)”, and to select the type of immunization needed. Depending on the type of
     immunization selected, the Class Member would be asked whether he or she had received a dose of that
 7
     immunization before, or, in the case of a COVID-19 vaccine, he or she would be asked for details of the
 8   particular type of vaccine required and information about previous COVID-19 vaccines he or she had
 9   received.

10          28.      Next, the Class Member would be presented with a list of Rite Aid Pharmacy locations
     and, under each location, one or more dates with available vaccination appointments. The Class Member
11
     would then click on one of those available dates at one location, and be presented with a number of
12   available appointment times from which she could click on a time and then click another button to “Select
13   Appointment.”

14          29.      Having selected an appointment, the Class Member would then be required to fill in a form
     entitled “Recipient Information” in which the Class Member would provide the following information:
15
     first name; last name; street address; city; state; zip code; sex assigned at birth; race; whether they are
16
     Hispanic, Latino/Latina, or Spanish origin; and last 4 digits of Social Security Number or the fact that
17   they do not have a Social Security Number.

18          30.      The next step would be for the Class Member to provide his or her own phone number and
     to select a language preference for communications including a confirmation of the appointment and
19
     reminders.
20
            31.      Having provided his or her contact information, the Class Member would be taken to a
21   page entitled “Vaccine history” and required to answer a number of questions about his or her medical

22   history, physical condition, and treatment. These questions, which could be answered by selecting “Yes”,
     “No”, or “Don’t Know,” include: “Do you have allergies to medications, food (e.g. eggs), latex or any
23
     vaccine component (e.g. neomycin, formaldehyde, gentamicin, thimerosal, bovine protein, phenol,
24
     polymyxin, gelatin, baker’s yeast or yeast)?” “Have you received a vaccine in the past 4 weeks?” “Have
25   you ever had a serious reaction after receiving a vaccination?” “Do you have a neurological disorder such
26   as seizures or other disorders that affect the brain or have had a disorder that resulted from a vaccine (e.g.

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 1   Guillain-Barre Syndrome)?” “Have you had a pneumococcal vaccine? (You may need two different

 2   pneumococcal shots.)” “Have you had a shingles vaccine?” “Have you had a whooping cough (Tdap/Td)
     vaccine?”
 3
            32.     After completing the “Vaccine history” form, the Class Member could click a button
 4   marked “Next” and proceed to a page entitled “Health information.” On this page, the Class Member
 5   would be required to answer a number of questions about his or her medical history, physical condition,

 6   and treatment. These questions include: “Do you have any long-term health problems with heart disease,
     kidney disease, metabolic disorder (e.g. diabetes), anemia, or blood disorders?” “Do you have a long term
 7
     health problem with lung disease or asthma?” “Do you have cancer, leukemia, AIDS, or any other immune
 8   system problem? (In some circumstances you may be referred to your physician.)” “Do you take
 9   prednisone, other steroids, or anticancer drugs, or have you had radiation treatments?” “During the past

10   year, have you received a transfusion of blood or blood products, including antibodies?” “Do you use any
     nicotine products?.” The Class Member would also be prompted to answer the option question of whether
11
     he or she had any other medical conditions, and to type a response.
12          33.     The next page, entitled “Caregiving & Pregnancy,” required the Class Member to answer
13   two required questions: “Are you a parent, family member, or caregiver to a newborn infant?” “Are you

14   pregnant or could you become pregnant in the next three months?”
            34.     The Class Member would, next, reach a page on which he or she could confirm the
15
     appointment. To confirm the appointment, the Class Member would have to enter an electronic signature.
16
     Above the electronic signature would be a number of statements and acknowledgements. As an example,
17   for those Class Members making an appointment from California, the statements and acknowledgements

18   included the following: “I, as the vaccine recipient or legal guardian/parent of a minor child vaccine
     recipient, authorize the release of any medical or other information with respect to this vaccine to specified
19
     healthcare providers, Medicare, Medicaid or other third party payer as needed and request payment of
20
     authorized benefits to be made on my or the vaccine recipient’s behalf to Rite Aid.”; “I acknowledge that
21   the vaccination record may be shared with federal or state or city agencies for registry reporting.”; “I

22   acknowledge receipt of Rite Aid's Notice of Privacy Practices for Protected Health Information.”; “I
     acknowledge that the administration of an immunization or vaccine does not substitute for an annual
23
     check-up with the vaccine recipient’s primary care physician.”; “For CA: I acknowledge that Rite Aid
24
     intends to share the vaccination record with the California Immunization Registry (CAIR) and that I have
25   reviewed the ‘CAIR Immunization Notice to Patients and Parents’ attached to this form.”; and, “For CA:
26   I acknowledge that if I do not want the immunization information shared with other CAIR users, I must

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 1   complete and submit to CAIR a “Decline or Start Sharing/Information Request Form” obtained either

 2   from the pharmacy or downloaded from the CAIR website.” The underlined terms in the above statements
     and acknowledgements were hyperlinks to Rite Aid’s Notice of Privacy Practices and to the CAIR
 3
     website, respectively.
 4          35.     On information and belief, throughout the Class Period, the process for making a
 5   vaccination appointment on Defendant’s website has been substantially the same in all material respects

 6   throughout the United States.
            36.     Thus, in order to use Defendant’s website to schedule a vaccination appointment, Plaintiffs
 7
     and other Class Members were required by Defendant’s website to enter confidential, private, and
 8   sensitive personal and health information into the website.
 9   Defendant’s Notice of Privacy Practices Promised that Plaintiffs’ and Class Members’ Medical

10   Information Would be Safeguarded and Not Disclosed to Unauthorized Third Parties
            37.      Defendant’s Notice of Privacy Practices, posted on its website, and substantively identical
11
     in pertinent parts throughout the Class Period, describes, “in accordance with the Health Insurance
12   Portability and Accountability Act of 1996 (‘HIPAA’) Privacy Rule, how Rite Aid may use and disclose
13   [customers’] protected health information [PHI] to carry out treatment, payment or health care operations

14   and for other specific purposes that are permitted or required by law.”
            38.     The Notice of Privacy Practices sets out certain limited uses of protected health
15
     information for the purposes of “Treatment, Payment and Health Care Operations.” It states: “We will
16
     use your [PHI] to treat you,” We will use your [PHI] to obtain payment for products and services,” and
17   “We will use your [PHI] to carry out health care operations.” After each of these statements, the Notice

18   of Privacy Practices provides additional detail about how a customer’s PHI might be used for each
     respective purpose.
19
            39.     The Notice of Privacy Practices then sets out “uses and disclosures that are either permitted
20
     or required by the HIPAA Privacy Rule.” The Notice explains: “Using their professional judgment, our
21   pharmacists may disclose your protected health information to a family member, other relative, close

22   personal friend, or any person you identify as being involved in your health care. This could include
     allowing those persons to pick up filled prescriptions, medical supplies, or medical records on your behalf.
23
     We may enter into contracts with some entities known as Business Associates that perform services for
24
     us. For example, we sometimes engage Business Associates to sort insurance or other third party payor
25   claims for submission to the actual payor. We may disclose protected health information to our Business
26   Associates so that they can perform their services and then bill your third party payor for services

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 1   rendered. We require the Business Associates to appropriately safeguard the protected health

 2   information.”
            40.      Next, the Notice of Privacy Practices details “other required or permitted disclosures of
 3
     [PHI].” The Notice contains an exhaustive list of these other potential disclosures, including, for example:
 4   “to law enforcement agencies as required by law or in response to a valid subpoena or other legal process,”
 5   “to a coroner or medical examiner when necessary, for example, to identify a deceased person or to

 6   determine a cause of death, or to funeral directors consistent with applicable law to carry out their duties,”
     “when necessary to prevent a serious threat to the patient's health and safety or the health and safety of
 7
     the public or another person,” and “to authorized federal officials so they may provide protection to the
 8   President, other authorized persons, or foreign heads of state or conduct special investigations.”
 9          41.      The Notice of Privacy Practices then provides: “We will obtain your written Authorization

10   before using or disclosing protected health information about you for marketing purposes, to sell your
     protected health information, or for purposes other than those listed above or otherwise permitted or
11
     required by law. You may revoke an Authorization in writing at any time. Such revocations must be made
12   in writing. Upon receipt of the written revocation, we will stop using or disclosing protected health
13   information about you, except to the extent that we have already taken action in reliance on the

14   Authorization.” (emphasis added).
            42.      Plaintiffs’ and Class Members’ Medical Information, as that term is defined in this
15
     Complaint, is “protected health information” within the meaning of HIPAA and, thus, Defendant’s Notice
16
     of Privacy Practices.
17   Defendant Secretly Disclosed, and Permitted Meta to Intercept, Plaintiffs’ and Class Members’

18   Medical Information
            43.      Completely unbeknownst to Plaintiffs and other Class Members, and continuing to the
19
     present, Medical Information that they communicated to Defendant through Defendant’s website while
20
     making a vaccination appointment was intercepted by and/or disclosed to at least one unauthorized third
21   party: Meta.

22   Meta’s Platform and the Meta Pixel
            44.      Meta operates the world’s largest social media company.
23
            45.      Meta maintains profiles on users that include users’ real names, locations, email addresses,
24
     friends, likes, and communications that Meta associates with personal identifiers including IP addresses
25   and cookie identifiers.
26

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 1          46.       Facebook users are allowed only one account and must share the name they go by in

 2   everyday life.
            47.       Meta also tracks non-users across the web through its widespread Internet marketing
 3
     products and source code.
 4          48.       Meta’s revenue is derived almost entirely from selling targeted advertising to Facebook
 5   users on Facebook.com and to all internet users on non-Facebook sites that integrate Meta marketing

 6   source code on their websites.
            49.       Meta sells advertising space by highlighting its ability to target users. Meta can target
 7
     users so effectively because it tracks Facebook’s users’ activity both on and off its site. This allows Meta
 8   to draw inferences about users beyond what they explicitly disclose on their Facebook accounts. Meta
 9   compiles this information into a generalized dataset called “Core Audiences,” to which advertisers can

10   apply specific filters and parameters in order to generate a target audience for their advertisements.
            50.       Advertisers are also able to build “Custom Audiences.” Advertisers can use “customer
11
     lists, website or app traffic, or engagement across Facebook technologies, to create Custom Audiences of
12
     people who already know [their] business.”7 Moreover, Advertisers are able to use their Custom Audience
13   to create a Lookalike Audience. To create a Lookalike Audience, Facebook “leverages information such
14   as demographics, interests and behaviors from [the advertiser’s source Custom Audience] to find new

15   people who share similar qualities.” Using a Lookalike Audience allows an advertiser to deliver its
     advertisements to an “audience of people who are similar to (or ‘look like’) [its] existing customers.”8
16
            51.       One method by which an Advertiser can create a Custom Audience, and consequently a
17
     Lookalike Audience, is from the Advertiser’s website. In order to create a “website Custom Audience”
18   an Advertiser’s website must have an active Meta Pixel.9
19

20
     7
21    Facebook, About Customer Audiences,
     https://www.facebook.com/business/help/744354708981227?id=2469097953376494 (last visited Jan.
22   18, 2023).
     8
23    Facebook, About Lookalike Audiences,
     https://www.facebook.com/business/help/164749007013531?id=401668390442328 (last visited Jan. 18,
24   2023).
     9
25    Facebook, Create a Website Custom Audience,
     https://www.facebook.com/business/help/1474662202748341?id=2469097953376494 (last visited Jan.
26   18, 2023).

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 1              52.   The Meta Pixel is offered to advertisers, like Rite Aid, to integrate into their websites. Once

 2   installed on a website, “the [P]ixel will log when someone takes an action on [that] website.”10 As
     Facebook explains, “[t]he Meta Pixel receives information about the actions, or events, that take place on
 3
     [an advertiser’s] website.”11 Automatic events are a category of actions that the Meta Pixel collects and
 4
     transmits from the website where it is installed without the advertiser being required to add any additional
 5
     code.12 The collection and transmission of automatic events is sufficient for an Advertiser to create a
 6   Custom Audience and, consequently, a Lookalike Audience. Advertisers are also able to select from a set
 7   of Standard events, predefined by Facebook, which can also be collected and transmitted by the Meta

 8   Pixel, including, for example, what content a visitor views, subscribes to, or purchases.13 Finally,
     Advertisers are able to create their own “custom events” to be tracked and transmitted to Facebook by the
 9
     Meta Pixel.14
10              53.   When a user accesses a website hosting a Meta Pixel, Facebook’s software script
11   surreptitiously directs the user’s computing device to send a separate message to Facebook’s servers. This

12   second transmission, completely invisible and unknown to the user, contains the content of the original
     request sent to the host website (“GET request”), along with the data that the Meta Pixel was configured
13
     to collect (“POST request”). GET and POST requests are communications that contain contents from both
14
     the user and from servers associated with the website they are visiting. These transmissions are initiated
15   by Meta code and concurrent with the communications to and from the host website.

16

17

18   10
        Facebook, About Meta Pixel,
     https://www.facebook.com/business/help/742478679120153?id=1205376682832142 (last visited Jan.
19
     18, 2023).
20   11
        Facebook, About Automatic Events,
     https://www.facebook.com/business/help/1292598407460746?id=1205376682832142 (last visited Jan.
21   18, 2023).
22   12
          Id.
     13
23      Facebook, Specifications for Meta Pixel Standard Events,
     https://www.facebook.com/business/help/402791146561655?id=1205376682832142 (last visited Jan.
24   18, 2023).
     14
25      Facebook, About Standard and Custom Website Events,
     https://www.facebook.com/business/help/964258670337005?id=1205376682832142 (last visited Jan.
26   18, 2023).

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 1            54.     The Meta Pixel acts as a conduit of information, sending the information it collects to Meta

 2   through scripts running in the user’s web browser. The information is sent in data packets labelled with
     personally identifiable information, including the user’s IP address.
 3
              55.     Meta associates the information it obtains via Meta Pixel with other information regarding
 4   the user, using additional personal identifiers that are transmitted concurrently with other personal
 5   information the Pixel is configured to collect. If the user has a Facebook account, these identifiers include

 6   the “c_user” IDs, which allow Meta to link data to a particular Facebook account, and “xs” cookies
     associated with a browsing session. For both Facebook account-holders and users who do not have a
 7
     Facebook account, these identifiers also include cookies that Meta ties to their browser, such as “datr”
 8
     and “fr” cookies.15
 9            56.     The c-user cookie is a means of identification for Facebook users. The c_user cookie value
10   is the Facebook equivalent of a user identification number. Each Facebook user account has a unique
     c_user cookie. Facebook uses the c_user cookie to record user activities and communications.
11
              57.     Any computer user can find the Facebook account associated with a particular c-user
12
     cookie. One simply needs to log-in to Facebook, then type www.facebook.com/[c-user cookie]. For
13   example, the c-user cookie for Mark Zuckerberg is 4. Logging in to Facebook and typing
14   www.facebook.com/4 in the web browser will retrieve Mark Zuckerberg’s Facebook page.

15            58.     The _datr cookie identifies the patient’s specific web browser from which the patient is
     sending the communication. It is an identifier that is unique to the patient’s specific web browser and is
16
     therefore a means of identification for Facebook users and non-users. Facebook keeps a record of every
17   _datr cookie identifier associated with each of its users.
18            59.     The _fr cookie is a Facebook identifier that is an encrypted combination of the c_user and

19   _datr cookies.
              60.     Meta warns developers and those who incorporate the Meta Pixel into their website that
20
     the Meta Pixel is a personal identifier because it “relies on Facebook cookies, which enable us to match
21
     your website visitors to their respective Facebook User accounts.”16
22            61.     The Meta Pixel also automatically captures and discloses the IP address of the user. IP
23   addresses are used to identify and route communications on the Internet. IP addresses of individual

24
     15
          Meta, Cookies Policy (Oct. 5, 2022), https://www.facebook.com/policy/cookies.
25   16
       Facebook, Get Started, https://developers.facebook.com/docs/meta-pixel/get-started (last visited Jan.
26   18, 2023).

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 1   Internet users are used by websites and tracking companies to facilitate and track Internet

 2   communications. Individual homes and their occupants can be, and are, tracked and targeted with
     advertising using IP addresses. Thus, IP addresses are personally identifiable, particularly in combination
 3
     with other information disclosed through the Meta Pixel.
 4   Defendant Disclosed Plaintiffs’ and Class Members’ Medical Information to Meta and Used Plaintiffs’
 5   and Class Members’ Medical Information for its Own Purposes

 6          62.      Starting on date unknown and continuing to the present, Defendant embedded the Meta
     Pixel on and throughout its website and transmitted Medical Information shared by Plaintiffs and Class
 7
     Members, without their consent, to Meta in accordance with the Meta Pixel’s configuration.
 8          63.      Rite Aid installed the Meta Pixel on its website – www.riteaid.com. When a Plaintiff or
 9   another Class Member visited that website and completed the steps necessary to make a vaccination

10   appointment, the Meta Pixel automatically caused the Plaintiff’s or Class Member’s personal identifiers,
     including IP addresses and the c_user, _fr, _datr, and _fbp cookies, to be transmitted to Meta, attached to
11
     the fact that the Plaintiff or Class Member had visited the website and the titles of the webpages the
12   Plaintiff or Class Member visited.
13          64.      Rather than merely transmit the “automatic events” that the Meta Pixel automatically

14   collects and transmits from a website without the website owner or developer being required to add any
     additional code, on information and belief, Defendant intentionally configured the Meta Pixel on its
15
     website to track, collect, and disclose “custom events” such as:
16
                  a. the time of the vaccination appointment, and, on information and belief, the ID number of
17                   the Rite Aid store at which the appointment was made;

18                b. certain personal information entered by Class Members the state of their street address, sex
                     assigned at birth, and race;
19
                  c. answers given by Class Members on the “Vaccine history” page, including answers to
20
                     questions such as: “Do you have allergies to medications, food (e.g. eggs), latex or any
21                   vaccine component (e.g. neomycin, formaldehyde, gentamicin, thimerosal, bovine protein,

22                   phenol, polymyxin, gelatin, baker’s yeast or yeast)?” “Have you received a vaccine in the
                     past 4 weeks?” “Have you ever had a serious reaction after receiving a vaccination?” “Do
23
                     you have a neurological disorder such as seizures or other disorders that affect the brain or
24
                     have had a disorder that resulted from a vaccine (e.g. Guillain-Barre Syndrome)?” “Have
25                   you had a pneumococcal vaccine? (You may need two different pneumococcal shots.)”
26

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 1                   “Have you had a shingles vaccine?” “Have you had a whooping cough (Tdap/Td)

 2                   vaccine?”;
                  d. answers given by Class Members on the “Health information” page, including answers to
 3
                     questions such as: “Do you have any long-term health problems with heart disease, kidney
 4                   disease, metabolic disorder (e.g. diabetes), anemia , or blood disorders?” “Do you have a
 5                   long term health problem with lung disease or asthma?” “Do you have cancer, leukemia,

 6                   AIDS, or any other immune system problem? (In some circumstances you may be referred
                     to your physician.)” “Do you take prednisone, other steroids, or anticancer drugs, or have
 7
                     you had radiation treatments?” “During the past year, have you received a transfusion of
 8                   blood or blood products, including antibodies?” “Do you use any nicotine products?”; and,
 9                e. answers given by Class Members on the “Caregiving & Pregnancy” page to the questions:

10                   “Are you a parent, family member, or caregiver to a newborn infant?” “Are you pregnant
                     or could you become pregnant in the next three months?”
11
            65.      Moreover, the Meta Pixel on Defendant’s website was also intentionally configured or
12   authorized to use a feature called “automatic advanced matching.” That feature scans forms on a website
13   looking for fields that may contain personally identifiable information like a first name, last name, or

14   email address, and then causes that information to be disclosed to Meta. On Defendant’s website this
     feature collected, at a minimum, the first names and last names of Plaintiffs and other Class Members
15
     entered on the Recipient Information page of the vaccination scheduling tool.
16
            66.      The data collected by the automatic advanced matching feature is disclosed to Meta in an
17   obfuscated form know as a “hash.” But Meta is able to determine the pre-obfuscated version of the data.

18   Indeed, Meta uses the hashed information to link other data collected and disclosed by the Meta Pixel to
     Plaintiffs’ and Class Members’ Facebook and Instagram profiles.
19
            67.      Thus, put simply, when Plaintiffs or other Class Members used Defendant’s website to
20
     schedule a vaccination appointment, their identities, personal identifiers, and health information (together
21   their Medical Information) was disclosed to Meta.

22          68.      On information and belief, Defendant disclosed Plaintiffs’ and Class Members’ Medical
     Information to Meta in order to permit Defendant to improve its marketing and advertising, in order to
23
     increase Defendant’s revenues and profits. Thus, Defendant used Plaintiffs’ and Class Members’ Medical
24
     Information for its own marketing and advertising purposes, in an attempt to increase its own revenues
25   and profits.
26

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 1   Defendant Used and Disclosed Plaintiffs’ and Class Members’ Medical Information Without

 2   Plaintiffs’ or Class Members’ Knowledge, Consent, Authorization, or Further Action
            69.     The tracking tools incorporated into, embedded in, or otherwise permitted on Defendant’s
 3
     website were invisible to Plaintiffs and Class Members while using that website. The Meta Pixels on
 4   Defendant’s website were seamlessly integrated into the website such that there was no reason for
 5   Plaintiffs or any Class Member to be aware of or to discover their presence.

 6          70.     Plaintiffs and Class Members were shown no disclaimer or warning that their Medical
     Information would be disclosed to any unauthorized third party without their express consent.
 7
            71.     Plaintiffs and Class Members had no idea that their Medical Information was being
 8   collected and transmitted to an unauthorized third party.
 9          72.     Because Plaintiffs and Class Members had no idea of the presence of Meta Pixels on

10   Defendant’s website, or that their Medical Information would be collected and transmitted to Meta, they
     could not and did not consent to Rite Aid’s conduct.
11
            73.     Plaintiffs and Class Members did not give consent or authorization for Defendant to
12   disclose their Medical Information to Meta or to any third party for marketing purposes.
13          74.     Moreover, Defendant’s Notice of Privacy Practices, as described above, provided no

14   indication to Plaintiffs or Class Members that their Medical Information would be disclosed to Meta or
     any unauthorized third party.
15
     Plaintiffs and Class Members Had a Reasonable Expectation of Privacy in the Medical Information
16
     they Provided to Defendant
17          75.     Plaintiffs and Class Members had a reasonable expectation of privacy in their Medical

18   Information.
            76.     Information such as the Medical Information provided by Plaintiffs and other Class
19
     Members to Defendant is protected by numerous state statutes throughout the United States.
20
            77.     For example, information such as the Medical Information provided by Plaintiffs and other
21   Class Members to Defendant is protected by California law under the Confidentiality of Medical

22   Information Act (CMIA). Cal. Civ. Code §§ 56, et seq.
            78.     Pursuant to Cal. Civ. Code § 56.05(i), “medical information,” for the purposes of the
23
     CMIA is defined as “any individually identifiable information, in electronic or physical form, in
24
     possession of or derived from a provider of health care, health care service plan, pharmaceutical company,
25   or contractor regarding a patient’s medical history, mental health application information, mental or
26   physical condition, or treatment.” Section 56.06(i) further provides: “‘Individually identifiable’ means

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 1   that the medical information includes or contains any element of personal identifying information

 2   sufficient to allow identification of the individual, such as the patient’s name, address, electronic mail
     address, telephone number, or social security number, or other information that, alone or in combination
 3
     with other publicly available information, reveals the identity of the individual.”
 4            79.    As another example, information such as the Medical Information provided by Plaintiffs
 5   and other Class Members to Defendant is protected by Washington law under the Uniform Health Care

 6   Information Act. Rev. Code Wash. ch. 70.02.
              80.    Pursuant to Rev. Code. Wash. § 70.02.010(17), “Health care information,” for the purposes
 7
     of Washington’s Uniform Health Care Information Act is defined as “any information, whether oral or
 8   recorded in any form or medium, that identifies or can readily be associated with the identity of a patient
 9   and directly relates to the patient’s health care, including a patient’s deoxyribonucleic acid and identified

10   sequence of chemical base pairs. The term includes any required accounting of disclosures of health care
     information.” Section 70.02.010(15) further provides; “‘Health care’ means any care, service, or
11
     procedure provided by a health care provider: (a) To diagnose, treat, or maintain a patient’s physical or
12   mental condition; or (b) That affects the structure or any function of the human body.”
13            81.    Information such as the Medical Information provided by Plaintiffs and other Class

14   Members to Defendant is also protected by the HIPAA Privacy Rule.
              82.    The Health Insurance Portability and Accountability Act’s Privacy Rule (HIPAA), 45
15
     C.F.R. §§ 160.103 et seq., protects patient health information. HIPAA sets national standards for
16
     safeguarding “protected health information.” For example, HIPAA limits the permissible uses of
17   protected health information and prohibits disclosure of this information without explicit authorization.

18   See 45 C.F.R. § 164.502. HIPAA also requires that covered entities, such as Defendant, implement
     appropriate safeguards to protect this information. See 45 C.F.R. § 164.530(c)(1).
19
              83.    Recent HHS guidance on the technologies at issue here also states that online tracking
20
     technologies (including the Meta Pixel) that disclose protected health information (PHI) violate HIPAA.
21   The guidance states that covered entities, such as Rite Aid, “are not permitted to use tracking

22   technologies in a manner that would result in impermissible disclosures of PHI to tracking
     technology vendors or any other violations of the HIPAA Rules. For example, disclosures of PHI to
23
     tracking technology vendors for marketing purposes, without individuals’ HIPAA-compliant
24
     authorizations, would constitute impermissible disclosures.”17
25

26   17
          U.S. Department of Health and Human Services, Office of Civil Rights, Use of Online Tracking
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 1          84.     Thus, state and federal laws and HHS guidance reinforce the social norms and general

 2   expectation that individually-identifiable health information is to be kept private and confidential.
            85.     Accordingly, Plaintiffs and Class Members had a reasonable expectation of privacy
 3
     regarding their Medical Information.
 4          86.     Privacy polls and studies also uniformly show that the overwhelming majority of
 5   Americans consider one of the most important privacy rights to be the need for an individual’s affirmative

 6   consent before a company collects and shares that individual’s data.
            87.     For example, a recent study by Consumer Reports shows that 92% of Americans believe
 7
     that internet companies and websites should be required to obtain consent before selling or sharing
 8   consumers’ data, and the same percentage believe internet companies and websites should be required to
 9   provide consumers with a complete list of the data that has been collected about them.18 Moreover,
10   according to a study by Pew Research Center, a majority of Americans, approximately 79%, are

11   concerned about how data is collected about them by companies.19
            88.     And privacy law experts have expressed concerns about the disclosure to third parties of a
12
     users’ sensitive medical information, in particular. For example, Dena Mendelsohn – the former Senior
13
     Policy Counsel at Consumer Reports and current Director of Health Policy and Data Governance at
14   Elektra Labs – explained that having one’s personal health information disseminated in ways one is
15   unaware of could have serious repercussions, including affecting one’s ability to obtain life insurance and
     how much one pay for that coverage, increasing the rate one is charged on loans, and leaving one
16
     vulnerable to workplace discrimination.20
17

18
     Technologies by HIPAA Covered Entities and Business Associates (content last reviewed Dec. 1, 2022)
19   (emphasis in the original), https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-online-
     tracking/index.html#ftnref9 (last visited, Mar. 23, 2023).
20   18
        Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey Finds,
21   CONSUMER REPORTS (May 11, 2017), https://www.consumerreports.org/consumerreports/ consumers-
     less-confident-about-healthcare-data-privacy-and-car-safety/.
22   19
        Americans and Privacy: Concerned, Confused, and Feeling Lack of Control Over Their Personal
23   Information, PEW RESEARCH CENTER, (Nov. 15, 2019),
     https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-confusedand-
24   feeling-lack-of-control-over-their-personal-information/.
     20
25     Donna Rosato, What Your Period Tracker App Knows About You, CONSUMER REPORTS (Jan. 28,
     2020), https://www.consumerreports.org/health-privacy/what-your-period-tracker-app-knows-about-
26   you/.

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 1   The Medical Information that Defendant Disclosed to Meta is Plaintiffs’ and Class Members’ Property,

 2   Has Economic Value, and its Unauthorized Disclosure Caused Economic Harm
                89.   It is common knowledge that there is an economic market for consumers’ personal data –
 3
     including the Medical Information that was disclosed by Defendant to Meta.
 4              90.   In 2013, the Financial Times reported that the data-broker industry profits from the trade
 5   of thousands of details about individuals, and that within that context, “age, gender, and location”

 6   information are sold for about “$0.50 per 1,000 people.”21 This estimate was based upon “industry pricing

 7   data viewed by the Financial Times,” at the time.22
                91.   In 2015, TechCrunch reported that “to obtain a list containing the names of individuals
 8
     suffering from a particular disease,” a market participant would have to spend about “$0.30 per name.”23
 9
     That same report noted that “Data has become a strategic asset that allows companies to acquire or
10   maintain a competitive edge” and that the value of a single user’s data (within the corporate acquisition
11   context) can vary from $15 to more than $40 per user.24
                92.   In 2021, a report from Invisibly found that personal medical information is one of the most
12
     valuable pieces of data within the data-market. “It’s worth acknowledging that because health care records
13
     often feature a more complete collection of the patient’s identity, background, and personal identifying
14   information (PII), health care records have proven to be of particular value for data thieves. While a single
15   social security number might go for $0.53, a complete health care records sells for $250 on average. For
     criminals, the more complete a dataset, the more potential value they can get out of it. As a result, health
16
     care breaches increased by 55% in 2020.”25
17
                93.   Moreover, health information has value to consumers. According to the annual Financial
18   Trust Index Survey, conducted by the University of Chicago’s Booth School of Business and
19   Northwestern University’s Kellogg School of Management, which interviewed more than 1,000

20
     21
21      Emily Steel, et al., How much is your personal data worth?, FIN. TIMES (June 12, 2013),
     https://ig.ft.com/how-much-is-your-personal-data-worth/#axzz3myQiwm6u.
22   22
          Id.
23   23
       Pauline Glickman and Nicholas Glady, What’s the Value of Your Data?, TECHCRUNCH (Oct. 13,
     2015), https://techcrunch.com/2015/10/13/whats-the-value-of-your-data/.
24
     24
          Id.
25   25
        How Much is Your Data Worth? The Complete Breakdown for 2021, INVISIBLY.COM (July 13, 2021),
26   https://www.invisibly.com/learn-blog/how-much-is-data-worth/.

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 1   Americans, 93 percent would not share their health data with a digital platform for free. Half of the survey

 2   respondents would only share their data for $100,000 or more, and 22 percent would only share their data
     if they received between $1,000 and $100,000.26
 3
             94.       Given the existence of a market for the Medical Information disclosed by Defendant,
 4   Defendant has deprived Plaintiffs and Class Members of the economic value of their Medical Information
 5   by disclosing such data without authorization and without providing proper consideration for Plaintiffs’

 6   and other Class Members’ property.
                                 TOLLING, CONCEALMENT, AND ESTOPPEL
 7
             95.       Any applicable statutes of limitation have been tolled by Defendant’s knowing and active
 8   concealment of its incorporation of the Meta Pixel into its website.
 9           96.       The Meta Pixel and other tracking tools on Defendant’s website were and are entirely

10   invisible to a website visitor.
             97.       Through no fault or lack of diligence, Plaintiffs and Class Members were deceived and
11
     could not reasonably discover Defendant’s deception and unlawful conduct.
12           98.       Plaintiffs were ignorant of the information essential to pursue their claims, without any
13   fault or lack of diligence on their part.

14           99.       Defendant had exclusive knowledge that its website incorporated the Meta Pixel and other
     tracking tools and yet failed to disclose to customers, including Plaintiffs and Class Members, that by
15
     booking vaccination appointments through Defendant’s website Plaintiffs’ and Class Members’ Medical
16
     Information would be disclosed or released to Meta.
17           100.      Under the circumstances, Defendant was under a duty to disclose the nature, significance,

18   and consequences of its collection and treatment of its customers’ Medical Information. In fact, to the
     present Defendant has not conceded, acknowledged, or otherwise indicated to its customers that it has
19
     disclosed or released their Medical Information to unauthorized third parties. Accordingly, Defendant is
20
     estopped from relying on any statute of limitations.
21           101.      Moreover, all applicable statutes of limitation have also been tolled pursuant to the

22   discovery rule.

23

24
     26
25      Andrea Park, How much should health data cost? $100K or more, according to patients, Becker’s
     Hosp. Rev. (Feb. 12, 2020), https://www.beckershospitalreview.com/healthcare-information-
26   technology/how-much-should-health-data-cost-100k-or-more-according-to-patients.html.

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 1          102.    The earliest that Plaintiffs or Class Members, acting with due diligence, could have

 2   reasonably discovered Defendant’s conduct would have been shortly before the filing of this Complaint.
                                ALLEGATIONS SPECIFIC TO PLAINTIFFS
 3
            103.    In or about April 2021, Plaintiff Jane Doe I visited Rite Aid’s website, while in California,
 4   and made an appointment for a vaccination.
 5          104.    In or about March 2021, Plaintiff Jane Doe II visited Rite Aid’s website, while in

 6   California, and made an appointment for a vaccination.
            105.    In or about April 2022, Plaintiff Jane Doe III visited Rite Aid’s website, while in
 7
     California, and made an appointment for a vaccination.
 8          106.    In or about October 2022, Plaintiff Jane Doe IV visited Rite Aid’s website, while in
 9   California, and made an appointment for a vaccination.

10          107.    Plaintiffs’ Medical Information was disclosed to Meta.
            108.    Plaintiffs would not have used Rite Aid’s website to make a vaccination appointment had
11
     they known that their Medical Information would be disclosed to unauthorized third parties.
12          109.    Plaintiff Jane Doe I, Plaintiff Jane Doe II, Plaintiff Jane Doe III, and Plaintiff Jane Doe IV,
13   each believed that because they were on the website of a healthcare provider and pharmacy, their

14   respective Medical Information would be protected and kept confidential.
            110.    None of the Plaintiffs saw anything on Defendant’s website that suggested to any of them
15
     that their respective Medical Information would be disclosed or released to an unauthorized third party.
16
            111.    Plaintiff Jane Doe I, Plaintiff Jane Doe II, Plaintiff Jane Doe III, and Jane Doe IV,
17   respectively, did not authorize, consent to, or otherwise encourage or permit the release of their Medical

18   Information to Meta or any other third party.
                                       CLASS ACTION ALLEGATIONS
19
            112.    Plaintiffs bring this action, on behalf of themselves and all others similarly situated, as a
20
     class action pursuant to Code of Civil Procedure § 382. Plaintiffs seek to represent two Classes, defined
21   as follows:

22          The California Class
            “All natural persons residing in California who used Defendant’s website to make a vaccination
23          appointment and whose Medical Information was disclosed or transmitted to Meta or any other
            unauthorized third party.”
24
            The Nationwide Class
25
            “All natural persons who used Defendant’s website to make a vaccination appointment and whose
26          Medical Information was disclosed or transmitted to Meta or any other unauthorized third party.”

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 1             113.     Plaintiffs reserve the right to revise or amend the above Class definitions and to add

 2   subclasses based on facts learned in discovery.
               114.     This action has been brought and may be properly maintained as a class action under the
 3
     Code of Civil Procedure § 382 because there is a well-defined community of interest in the litigation, the
 4   proposed Classes are easily ascertainable, and Plaintiffs are proper representatives of the Classes.
 5             115.     Numerosity. The potential members of each of the proposed Classes, as defined, are more

 6   than one million, and so numerous that joinder of all members of each Class is impracticable.
               116.     Typicality. Plaintiffs’ claims are typical of the claims of each of the Classes. Plaintiff Jane
 7
     Doe I, Plaintiff Jane Doe II, Plaintiff Jane Doe III, and Plaintiff Jane Doe IV, all used Defendant’s website
 8   to make a vaccination appointment and, on information and belief, their Medical Information was
 9   disclosed or transmitted to Meta or another unauthorized third party.

10             117.     Commonality. Common questions of fact and law exist as to all members of each Class
     and predominate over the questions affecting only individual members of each Class. These common
11
     questions include but are not limited to:
12             a.       Whether Defendant’s acts and practices violated Plaintiffs’ and Class Members’ privacy
13   rights;

14             b.       Whether Defendant’s acts and practices violated California’s Constitution, Art. 1, § 1;
               c.       Whether Plaintiffs and Class Members had a reasonable expectation that their Medical
15
     Information would not be disclosed to third parties without authorization;
16
               d.       Whether Defendant’s acts and practices violated the California Confidentiality of Medical
17   Information Act, Civil Code §§ 56 et seq.;

18             e.       Whether the Medical Information disclosed by Defendant constitutes “medical
     information” within the meaning of Civil Code § 56.05(i);
19
               f.       Whether Defendant obtained written consent to or permission for its conduct;
20
               g.       Whether Defendant’s acts and practices violated the California Invasion of Privacy Act,
21   Penal Code §§ 630, et seq.;

22             h.       Whether Defendant obtained express consent to or authorization for its conduct;
               i.       Whether Defendant’s acts and practices violated the Electronic Communications Privacy
23
     Act, 18 U.S.C. § 2510 et seq.;
24
               j.       Whether Plaintiffs and Nationwide Class Members consented to the interception of their
25   electronic communications with Rite Aid by Meta or any other unauthorized third party;
26

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 1              k.       Whether Defendant breached its contractual promise to safeguard and not secretly disclose

 2   Class Members’ Medical Information;
                l.       Whether Defendant breached its implied contractual promise to safeguard and not disclose
 3
     Class Members’ Medical Information without authorization or consent;
 4              m.       Whether Defendant’s acts and practices violated Business and Professions Code §§ 17200,
 5   et seq.;

 6              n.       Whether Defendant’s acts and practices harmed Plaintiffs and Class Members;
                o.       Whether Plaintiffs and other Class Members are entitled to equitable relief, including but
 7
     not limited to, restitution and disgorgement;
 8              p.       Whether Plaintiffs and other Class Members are entitled to injunctive relief;
 9              q.       Whether Plaintiffs and other Class Members are entitled to damages and other monetary

10   relief; and
                r.       Whether Plaintiffs and Class Members are entitled to reasonable attorneys’ fees and costs.
11
                118.     Adequacy of Representation. Plaintiffs are members of both Classes and will fairly and
12   adequately represent and protect the interests of each Class. Plaintiffs’ interests do not conflict with those
13   of Nationwide or California Class Members, they have no conflict of interest with other Class Members,

14   are not subject to any unique defenses, and have retained competent and experienced counsel.
                119.     Superiority of Class Action. Class action treatment is superior to any alternative to ensure
15
     the fair and efficient adjudication of the controversy alleged herein. Such treatment will permit a large
16
     number of similarly situated persons to prosecute their common claims in a single form simultaneously,
17   efficiently, and without the duplication of effort and expense that numerous individual actions would

18   entail. If this action is not certified as a class action, it will be impossible as a practical matter for many
     or most Class Members to bring individual actions to recover money from Defendant, due to the relatively
19
     small amounts of such individual recoveries relative to the costs and burdens of litigation. Moreover,
20
     individual Class Members do not have a significant interest in controlling the prosecution of separate
21   actions. Plaintiffs anticipate no difficulty in the management of this action which would preclude its

22   maintenance as a class action.
                120.     Plaintiffs reserve the right to add representatives for each Class, provided Defendant is
23
     afforded an opportunity to conduct discovery as to those representatives.
24

25   //
26

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 1                                         FIRST CAUSE OF ACTION

 2                    Common Law Invasion of Privacy – Intrusion into Private Matters
                              [On Behalf of all Plaintiffs and the California Class]
 3
            121.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
 4   preceding paragraphs.
 5          122.    Rite Aid’s secret disclosure of Plaintiffs’ and other California Class Members’ Medical

 6   Information, including each California Class Member’s first name, last name, other individually
     identifying information, information about their vaccine history, and information about their medical
 7
     history, mental and physical condition, and treatment, constitutes an intentional intrusion upon Plaintiffs’
 8   and California Class Members’ private matters that were intended to stay private from third parties.
 9          123.    Plaintiffs and California Class Members had a reasonable expectation of privacy in their

10   Medical Information. Plaintiffs and California Class Members did not consent to, authorize, or have any
     reason to know about Rite Aid’s intrusion into their privacy at the time it occurred.
11
            124.    Defendant’s intrusion into Plaintiffs’ and California Class Members’ private affairs,
12   seclusion, and solitude, would be highly offensive to a reasonable person.
13          125.    Plaintiffs and California Class Members expected that the Medical Information they shared

14   with a provider of healthcare would not be disclosed to an unauthorized third party. Social norms and
     industry standards inform the understanding that Medical Information is highly protected and that
15
     disclosure of that information to third parties requires consent and authorization. The secret disclosure of
16
     Medical Information would be highly offensive to a reasonable person.
17          126.    Plaintiffs and California Class Members have been harmed as a result of Defendant’s

18   actions, including by, but not limited to, an invasion of their privacy rights.
            127.    Plaintiffs and California Class Members seek appropriate relief for their injuries, including,
19
     but not limited to, monetary damages to compensate for the harm to their privacy interests and
20
     disgorgement of profits made by Rite Aid as a result of its intrusions into Plaintiffs’ and California Class
21   Members’ private matters.

22          128.    Plaintiffs and California Class Members are also entitled to punitive damages resulting
     from the malicious, willful, and intentional nature of Defendant’s actions which were directed at invading
23
     Plaintiffs’ and California Class Members’ privacy rights in conscious disregard of those rights. Such
24
     damages are necessary to deter Rite Aid from engaging in such conduct in the future.
25          129.    This action, if successful, will enforce an important right affecting the public interest and
26   would confer a significant benefit on a large class of persons and/or the general public. Private

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 1   enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to

 2   Plaintiffs’ stakes in the matter. Because this case is brought for the purposes of enforcing important rights
     affecting the public interest, Plaintiffs also seek the recovery of attorneys’ fees and costs in prosecuting
 3
     this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.
 4          130.    Plaintiffs, on behalf of themselves and the California Class, request relief as further
 5   described below.

 6                                       SECOND CAUSE OF ACTION
                   Invasion of Privacy and Violation of California Constitution, Art. 1, § 1
 7
                               [On Behalf of all Plaintiffs and the California Class]
 8          131.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
 9   preceding paragraphs.

10          132.    The right to privacy is enshrined in the California Constitution. Article 1, Section 1,
     provides: “All people are by nature free and independent and have inalienable rights. Among these are
11
     enjoying and defending life and liberty, acquiring, possessing, and protecting property, and pursuing and
12   obtaining safety, happiness, and privacy.”
13          133.    Plaintiffs and Class Members did not consent to or authorize Rite Aid to disclose their

14   Medical Information to unauthorized third parties. Indeed, Plaintiffs and Class Members had no
     knowledge that such information was being so disclosed and, consequently, had no opportunity to deny
15
     consent or authorization.
16
            134.    Plaintiffs and California Class Members had a reasonable expectation of privacy in their
17   personal information, identities, and Medical Information pursuant to Article 1, Section 1, of the

18   California Constitution, social norms, and the expectations of privacy that attach to relationships and
     communications with providers of healthcare.
19
            135.    Rite Aid’s disclosure of Plaintiffs’ and California Class Members’ Medical Information
20
     constitutes an intentional invasion of private communications, information, and matters, and an egregious
21   breach of social norms.

22          136.    Rite Aid’s conduct would be highly offensive to a reasonable person because the data
     disclosed was highly sensitive and personal, as protected by the California Constitution, and Rite Aid
23
     lacked consent or authorization to disclose such information.
24
            137.    Rite Aid’s violation of the privacy rights of thousands of California Class Members,
25   including Plaintiffs, without authorization or consent, constitutes an egregious breach of social norms.
26

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 1            138.   Plaintiffs and California Class Members have sustained damages and will continue to

 2   suffer damages as a result of Defendant’s invasion of their privacy.
              139.   Plaintiff and California Class Members seek appropriate relief for their injuries, including,
 3
     but not limited to, monetary damages to compensate for the harm to their privacy interests and
 4   disgorgement of profits made by Rite Aid as a result of its intrusions into Plaintiffs’ and California Class
 5   Members’ private matters.

 6            140.   Plaintiffs and California Class Members are also entitled to punitive damages resulting
     from the malicious, willful, and intentional nature of Defendant’s actions which were directed at invading
 7
     Plaintiffs’ and California Class Members’ privacy rights in conscious disregard of those rights. Such
 8   damages are necessary to deter Rite Aid from engaging in such conduct in the future.
 9            141.   This action, if successful, will enforce an important right affecting the public interest and

10   would confer a significant benefit on a large class of persons and/or the general public. Private
     enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to
11
     Plaintiffs’ stakes in the matter. Because this case is brought for the purposes of enforcing important rights
12   affecting the public interest, Plaintiffs also seek the recovery of attorneys’ fees and costs in prosecuting
13   this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.

14            142.   Plaintiffs, on behalf of themselves and the California Class, seek relief as further described
     below.
15
                                           THIRD CAUSE OF ACTION
16
        Violation of California Confidentiality of Medical Information Act, Cal. Civ. Code § 56.101
17                             [On Behalf of all Plaintiffs and the California Class]

18            143.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
     preceding paragraphs.
19
              144.   Cal. Civ. Code § 56.101(a) requires that every provider of health care “who creates,
20
     maintains, preserves, stores, abandons, destroys, or disposes of medical information shall do so in a
21   manner that preserves the confidentiality of the information contained therein.”

22            145.   Section 56.101(a) further provides, in pertinent part: “Any health care provider who
     “negligently creates, maintains, preserves, stores, abandons, destroys, or disposes of medical information
23
     shall be subject to remedies and penalties provided under subdivisions (b) and (c) of Section 56.36.”
24
              146.   Rite Aid is, and all relevant times has been, a “provider of health care” within the meaning
25   of §§ 56.101(a) and 56.05(m).
26

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 1           147.    Plaintiffs and California Class Members are “patients” as defined by Cal. Civ. Code §

 2   56.05(j).
             148.    Rite Aid is a provider of health care who creates, maintains, preserves, stores, abandons,
 3
     destroys, or disposes of medical information, within the meaning of §§ 56.101(a) and 56.05(i).
 4           149.    Rite Aid failed to maintain, preserve, and store Plaintiffs’ and Class Members’ medical
 5   information in a manner that preserves the confidentiality of the information contained therein because

 6   Rite Aid disclosed to Meta Plaintiffs’ and Class Members’ Medical Information, as defined and described
     in this Complaint, including their first names, last names, and information about their medical histories,
 7
     physical conditions, mental conditions, and treatments.
 8           150.    Rite Aid’s failure to maintain, preserve, and store medical information in a manner that
 9   preserves the confidentiality of the information was, at a minimum, negligent, and violates Civil Code §

10   56.101(a).
             151.    Accordingly, pursuant to Cal. Civil Code § 56.36, Plaintiffs and California Class Members
11
     are entitled to: (1) nominal damages of one thousand dollars ($1,000); (2) actual damages, in an amount
12   to be determined at trial; and (3) statutory damages pursuant to Civil Code § 56.36(c); and (4) reasonable
13   attorneys’ fees and the costs of litigation.

14           152.    Plaintiffs, on behalf of themselves and the California Class, seeks relief as further
     described below.
15
                                          FOURTH CAUSE OF ACTION
16
         Violation of California Confidentiality of Medical Information Act, Cal. Civ. Code § 56.10.
17                             [On Behalf of all Plaintiffs and the California Class]

18           153.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
     preceding paragraphs.
19
             154.    Cal. Civil Code § 56.10(a) prohibits a health care provider, such as Rite Aid, from
20
     disclosing medical information without first obtaining an authorization, unless a statutory exception
21   applies.

22           155.    Rite Aid disclosed medical information without first obtaining authorization when it
     disclosed to Meta Plaintiffs’ and California Class Members’ Medical Information, as defined and
23
     described in this Complaint, including their first names, last names, and information about their medical
24
     histories, physical conditions, mental conditions, and treatments. No statutory exception applies. As a
25   result, Defendant violated Civil Code § 56.10(a).
26

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 1            156.   Rite Aid knowingly and willfully disclosed Plaintiffs’ and California Class Members’

 2   medical information without consent to Meta for financial gain. Namely, to market and advertise its
     services, or to allow others to market and advertise their services, in violation of Civil Code § 56.10(a).
 3
              157.   At the least, Rite Aid negligently disclosed Plaintiffs’ and California Class Members’
 4   medical information in violation of Civil Code § 56.10(a).
 5            158.   Accordingly, pursuant to Cal. Civil Code § 56.35 and 56.36, Plaintiffs and California Class

 6   Members are entitled to: (1) nominal damages of one thousand dollars ($1,000); (2) actual damages, in
     an amount to be determined at trial; (3) statutory damages pursuant to Civil Code § 56.36(c); (4) punitive
 7
     damages of three thousand dollars ($3,000) pursuant to § 56.35; and (5) reasonable attorneys’ fees and
 8   the costs of litigation.
 9            159.    Plaintiffs, on behalf of themselves and the California Class, seek relief as further described

10   below.
                                            FIFTH CAUSE OF ACTION
11
         Violation of The Electronic Communications Privacy Act (ECPA), 18 U.S.C. §§ 2510 et seq.
12                              [On Behalf of all Plaintiffs and the Nationwide Class]
13            160.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the

14   preceding paragraphs.
              161.   The ECPA, 18 U.S.C. §§ 2510 et seq., makes it unlawful for a “person” to “intentionally
15
     intercept[], endeavor[] to intercept, or procure[] any other person to intercept or endeavor to intercept, any
16
     wire, oral, or electronic communications.” 18 U.S.C. § 2511(1).
17            162.   “Intercept” is defined as “the aural or other acquisition of the contents of any wire,

18   electronic, or oral communication through the use of any electronic, mechanical, or other device.” 18
     U.S.C. § 2510(4).
19
              163.   “Contents” is defined as “includ[ing] any information concerning the substance, purport,
20
     or meaning of that communication.” 18 U.S.C. § 2510(8).
21            164.    “Person” is defined as “any employee, or agent of the United States or any State or

22   political subdivision thereof, and any individual, partnership, association, joint stock company, trust, or
     corporation.” 18 U.S.C. § 2510(6).
23
              165.   “Electronic communication” is defined as “any transfer of signs, signals, writing, images,
24
     sounds, data, or intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,
25   photoelectronic or photooptical system that affects interstate or foreign commerce . . . .” 18 U.S.C. §
26   2510(12).

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 1          166.     Plaintiffs’ and Nationwide Class Members’ communications with Rite Aid through Rite

 2   Aid’s website during which Plaintiffs and Nationwide Class Members’ made vaccination appointments
     and through which they communicated Medical Information with Rite Aid were electronic
 3
     communications within the meaning of the ECPA.
 4          167.     Both Meta and Rite Aid are persons within the meaning of the ECPA as they are
 5   corporations.

 6          168.     The Meta Pixel is a “device or apparatus” that is “used to intercept a wire, oral, or electronic
     communication.” 18 U.S.C. 2510(4).
 7
            169.     By incorporating the Meta Pixel into its website and permitting it to intercept Plaintiffs’
 8   and Nationwide Class Members’ Medical Information, Rite Aid intercepted or endeavored to intercept
 9   Plaintiffs’ and Nationwide Class Members’ electronic communications and/or procured Meta to intercept

10   or endeavor to intercept Plaintiffs’ and Nationwide Class Members’ electronic communications, in
     violation of the ECPA.
11
            170.     18 U.S.C. § 2511(2)(d) provides an exception to 18 U.S.C. § 2511(1), under which: “It
12   shall not be unlawful under this chapter [18 USCS §§ 2510 et seq.] for a person not acting under color of
13   law to intercept a wire, oral, or electronic communication where such person is a party to the

14   communication or where one of the parties to the communication has given prior consent to such
     interception unless such communication is intercepted for the purpose of committing any criminal or
15
     tortious act in violation of the Constitution or laws of the United States or of any State.” (emphasis added)
16
            171.     Neither Plaintiffs nor the Nationwide Class Members consented to Rite Aid’s interception
17   of, or to Rite Aid procuring Meta to intercept, their electronic communications with Defendant through

18   Defendant’s website.
            172.     Rite Aid does not meet the requirements of the “party exception” to the ECPA because the
19
     electronic communications intercepted by Rite Aid, or which Rite Aid procured Meta to intercept, were
20
     intercepted as part of Rite Aid’s practice of divulging Medical Information to an unauthorized third party
21   in violation of numerous federal and state laws.

22          173.     As detailed above, Rite Aid violated the CMIA and the California Constitution, and
     committed a tortious invasion of privacy, when it disclosed Plaintiffs’ and California Class Members’
23
     Medical Information to Meta through the Meta Pixel. As detailed below, by those same acts, Rite Aid
24
     violated the California UCL.
25          174.     Moreover, Rite Aid violated the federal HIPAA Privacy Rule which regulates the use and
26   disclosure of protected health information (PHI) by “covered entities.”

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 1          175.    Rite Aid is a “covered entity” within the meaning of 45 C.F.R. § 160.103.

 2          176.    “Disclosure” within the meaning of the HIPAA Privacy Rule is defined as “the release,
     transfer, provision of access to, or divulging in any manner of information outside the entity holding the
 3
     information.” 45 C.F.R. § 160.103.
 4          177.    The Medical Information provided by Plaintiffs and Nationwide Class Members to Rite
 5   Aid when they made vaccination appointments through Rite Aid’s website, as described above, is PHI

 6   within the meaning of the HIPAA Privacy Rule. 45 C.F.R. § 160.103.
            178.    As described above, Rite Aid disclosed Plaintiffs’ and Nationwide Class Members’ PHI to
 7
     Meta through the Meta Pixel incorporated into Rite Aid’s website.
 8          179.    Rite Aid’s disclosure of PHI to Meta was neither permitted nor required within the meaning
 9   of 45 C.F.R. § 164.502(a). Rather, Rite Aid disclosed Plaintiffs’ and Nationwide Class Members’ PHI to

10   Meta for impermissible purposes, including marketing and advertising.
            180.    Thus, Rite Aid committed a tortious act in violation of the federal HIPAA Privacy Rule
11
     when it disclosed Plaintiffs’ and Nationwide Class Members’ PHI to Meta through the Meta Pixel.
12          181.    Moreover, pursuant to 42 U.S.C. § 1320d-6, it is a crime for a “person,” such as Rite Aid,
13   to knowingly disclose “individually identifiable health information” to a third party for “commercial

14   reasons. Thus, Rite Aid committed criminal acts when it knowingly disclosed Plaintiffs’ and Nationwide
     Class Members’ PHI to Meta through the Meta Pixel.
15
            182.    On information and belief, Rite violated numerous other federal and state statutes when it
16
     intercepted or endeavored to intercept Plaintiffs’ and Nationwide Class Members’ electronic
17   communications and/or procured Meta to intercept or endeavor to intercept Plaintiffs’ and Nationwide

18   Class Members’ electronic communications.
            183.    Accordingly, Rite Aid violated the ECPA each time the Meta Pixel incorporated into its
19
     website intercepted Plaintiffs’ and Nationwide Class Members’ electronic communications.
20
            184.    Pursuant to 18 U.S.C. § 2520, Plaintiffs and Nationwide Class Members have been
21   damaged by the interception and disclosure of their electronic communications in violation of the ECPA

22   and are entitled to: (1) appropriate equitable or declaratory relief; (2) damages, in an amount to be
     determined at trial, assessed as the greater of (a) the sum of the actual damages suffered by Plaintiffs and
23
     the Nationwide Class and any profits made by Rite Aid as a result of its violations, or (b) statutory
24
     damages of whichever is the greater of $100 per day per violation or $10,000; and (3) reasonable
25   attorneys’ fees and other litigation costs reasonably incurred.
26

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 1          185.    Plaintiffs, on behalf of themselves and the Nationwide Class, seek relief as further

 2   described below.
                                           SIXTH CAUSE OF ACTION
 3
        Violation of California Invasion of Privacy Act (CIPA), California Penal Code §§ 630, et seq.
 4                            [On Behalf of all Plaintiffs and the California Class]
 5          186.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the

 6   preceding paragraphs.
            187.    The California Invasion of Privacy Act begins with its statement of purpose: “The
 7
     legislature hereby declares that advances in science and technology have led to the development of new
 8   devices and techniques for the purpose of eavesdropping upon private communications and that the
 9   invasion of privacy resulting from the continual and increasing use of such devices and techniques has

10   created a serious threat to the free exercise of personal liberties and cannot be tolerated in a free and
     civilized society. The Legislature by this chapter intends to protect the right of privacy of the people of
11
     this state.” Cal. Penal Code § 630.
12          188.    Cal. Penal Code § 631(a) provides, in pertinent part: “Any person who, by means of any
13   machine, instrument, or contrivance, or in any other manner, intentionally taps, or makes any unauthorized

14   connection, whether physically, electrically, acoustically, inductively, or otherwise, with any telegraph or
     telephone wire, line, cable, or instrument, including the wire, line, cable, or instrument of any internal
15
     telephonic communication system, or who willfully and without the consent of all parties to the
16
     communication, or in any unauthorized manner, reads, or attempts to read, or to learn the contents or
17   meaning of any message, report, or communication while the same is in transit or passing over any wire,

18   line, or cable, or is being sent from, or received at any place within this state; or who uses, or attempts to
     use, in any manner, or for any purpose, or to communicate in any way, any information so obtained, or
19
     who aids, agrees with, employs, or conspires with any person or persons to unlawfully do, or permit, or
20
     cause to be done any of the acts or things mentioned above in this section, is punishable by a fine not
21   exceeding two thousand five hundred dollars ($2,500) . . .”

22          189.    Defendant is a “person” within the meaning of Cal. Penal Code § 631.
            190.    The Meta Pixel and Plaintiffs’ and California Class Members’ browsers, and Plaintiffs’
23
     and California Class Members’ computing and mobile devices qualify as a “machine, instrument,
24
     contrivance or . . . other manner” under this statute.
25          191.    Plaintiffs’ and California Class Members’ communications of Medical Information with
26   Defendant on and through Defendant’s website were intended to be confined to the parties. Plaintiffs and

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 1   California Class Members were using what they understood to be Defendant’s secure appointment

 2   scheduling tool and secure website and no indication was given that their Medical Information would be
     shared with or viewed by any unauthorized third party. The circumstances reasonably indicate that
 3
     Plaintiffs and California Class Members desired their communications with Defendant to be confined to
 4   the parties thereto.
 5            192.   Despite not having any authorization from Plaintiffs or other California Class Members,

 6   Defendant aided, agreed with, or conspired with Meta, to permit Meta to intercept these communications
     and to learn the content of those communications while in transit or in the process of being sent or
 7
     received.
 8            193.   Defendant’s conduct, as described above, violated Penal Code § 631. Under Penal Code §
 9   637.2, Plaintiffs and California Class Members are entitled to recover the greater of: (1) five thousand

10   dollars ($5,000) per violation; or (2) three times the amount of actual damages according to proof at trial,
     as well as injunctive or other equitable relief.
11
              194.   Plaintiffs and California Class Members have also suffered irreparable injury from these
12   unauthorized acts of disclosure. Their personal, private, and sensitive Medical Information has been
13   collected, viewed, accessed, stored, and used by Meta, and has not been destroyed. Due to the continuing

14   threat of such injury, Plaintiffs and California Class Members have no adequate remedy at law and are
     entitled to injunctive relief. Plaintiffs and Class Members seek a permanent injunction under Penal Code
15
     § 637.2 enjoining Defendant from engaging in further conduct in violation of Cal. Penal Code § 630, et
16
     seq.
17            195.   Plaintiffs, on behalf of themselves and the California Class, seek relief as further described

18   below.
                                         SEVENTH CAUSE OF ACTION
19
                                                 Breach of Contract
20                            [On Behalf of all Plaintiffs and the Nationwide Class]
21            196.   Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the

22   preceding paragraphs.
              197.   In its Notice of Privacy Practices, as described above, Defendant set out specific limited
23
     purposes for which it would use or disclose Plaintiffs’ and Class Members’ Medical Information.
24            198.   Defendant’s disclosure of Plaintiffs’ and Class Members’ Medical Information to Meta
25   does not fall within any required or permissible uses or disclosures that Defendant set out in its Notice of

26   Privacy Practices.

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 1          199.    Moreover, Defendant specifically promised: “We will obtain your written Authorization

 2   before using or disclosing protected health information about you for marketing purposes, to sell your
     protected health information, or for purposes other than those listed above or otherwise permitted or
 3
     required by law.”
 4          200.    Plaintiffs and other Class Members did not provide any written authorization for Defendant
 5   to disclose their Medical Information to Meta or to use their Medical Information for Defendant’s own

 6   marketing purposes.
            201.    Plaintiffs and other Class Members accepted Defendant’s promises to protect their Medical
 7
     Information in accordance with Defendant’s Notice of Privacy Practices, and not to disclose their Medical
 8   Information to third parties without express consent or authorization, when they used Defendant’s website
 9   to make vaccination appointments.

10          202.    Plaintiffs and Class Members fully performed their obligations under their contracts with
     Defendant, including entering their Medical Information into Defendant’s website and using Defendant’s
11
     website to make vaccination appointments.
12          203.    Defendant did not perform consistent with its obligations under the contract. Defendant
13   secretly disclosed Plaintiffs’ and Class Members’ Medical Information to Meta in violation of

14   Defendant’s agreement with Plaintiffs and Class Members.
            204.    As a direct and proximate result of Defendant’s breaches of its contracts, Plaintiffs and
15
     Class Members sustained damages as alleged herein. Plaintiffs and Class Members would not have used
16
     Defendant’s website to make a vaccination appointment or would not have entered their medical
17   information into Defendant’s website had they known their Medical Information would be disclosed.

18          205.    Plaintiff and Nationwide Class Members are entitled to compensatory and consequential
     damages as a result of Defendant’s breach of contract.
19
            206.    Plaintiffs, on behalf of themselves and the Nationwide Class, seek relief as further
20
     described below.
21                                       EIGHTH CAUSE OF ACTION

22                              Breach of Implied Contract (in the alternative)
                             [On Behalf of all Plaintiffs and the Nationwide Class]
23
            207.    Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
24   preceding paragraphs.
25          208.    When Plaintiffs and Class Members used Defendant’s website to make a vaccination

26   appointment and entered their Medical Information in order to make that appointment, they entered

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 1   implied contracts pursuant to which Defendant agreed to safeguard and not disclose their Medical

 2   Information without authorization or consent.
            209.     Plaintiffs and Class Members accepted Defendant’s offers and provided their Medical
 3
     Information to Defendant.
 4          210.     Plaintiffs and Class members would not have entrusted Defendant with their Medical
 5   Information in the absence of an implied contract between them and Defendant obligating Defendant not

 6   to disclose this information without consent.
            211.     Defendant breached these implied contracts by disclosing Plaintiffs’ and Class Members’
 7
     Medical Information to Meta.
 8          212.     As a direct and proximate result of Defendant’s breaches of these implied contracts,
 9   Plaintiffs and Class Members sustained damages as alleged herein. Plaintiffs and Class Members would

10   not have used Defendant’s website to make a vaccination appointment or would not have entered their
     medical information into Defendant’s website had they known their Medical Information would be
11
     disclosed.
12          213.     Plaintiffs and Nationwide Class Members are entitled to compensatory and consequential
13   damages as a result of Defendant’s breach of implied contract.

14          214.     Plaintiffs, on behalf of themselves and the Nationwide Class, seek relief as further
     described below.
15
                                          NINTH CAUSE OF ACTION
16
                   Violation of California Business & Professions Code §§ 17200 et seq. (UCL)
17                            [On Behalf of all Plaintiffs and the California Class]

18          215.     Plaintiffs re-allege and incorporate by reference each and every allegation set forth in the
     preceding paragraphs.
19
            216.     The UCL prohibits unfair competition in the form of any unlawful, unfair, or fraudulent
20
     business act or practice. Cal. Bus. & Prof. Code § 17204 allows “any person who has suffered injury in
21   fact and has lost money or property” to prosecute a civil action for violation of the UCL. Such a person

22   may bring such an action on behalf of themselves and others similarly situated, who are affected by the
     unlawful, unfair, or fraudulent business practice or practices.
23
            217.     Rite Aid’s acts, omissions, practices, and non-disclosures as alleged herein constituted
24
     unlawful, unfair, and fraudulent business acts and practices within the meaning of Cal. Bus. & Prof. Code
25   §§ 17200, et seq. (UCL).
26

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 1          218.    Defendant engaged in “unlawful” business acts and practices, as set forth above: in

 2   violation of the common law; in violation of the California Constitution; and in violation of California
     statutes, including the Confidentiality of Medical Information Act and the California Invasion of Privacy
 3
     Act.
 4          219.    Plaintiffs reserve the right to allege other violations of law committed by Defendant that
 5   constitute unlawful business acts or practices within the meaning of the UCL.

 6          220.    Defendant has also engaged in “unfair” business acts and practices. California has a strong
     public policy of protecting consumers’ privacy interests, including consumers’ personal data. Rite Aid
 7
     violated this strong public policy by, among other things, surreptitiously disclosing, releasing, and
 8   otherwise misusing Plaintiffs’ and Class Members’ Medical Information without Plaintiffs’ and California
 9   Class Members’ consent. Rite Aid’s acts and practices violate the policies underlying the statutes and the

10   article of the California Constitution referenced herein.
            221.    Defendant’s acts and practices are also “unfair” in that they are immoral, unethical,
11
     oppressive, unscrupulous, and/or substantially injurious to consumers. Defendant secretly disclosed,
12   released, and otherwise misused Plaintiffs’ and California Class Members’ Medical Information, with no
13   corresponding benefit to its affected customers. And, because consumers were unaware of Defendant’s

14   incorporation of tracking tools into its website and that Defendant would disclose and release their
     Medical Information to unauthorized third parties, they could not have avoided the harm.
15
            222.    Had Plaintiffs and California Class Members known that their Medical Information would
16
     be disclosed or released by Defendant to unauthorized third parties, they would not have shared their
17   Medical Information with Defendant’s website or would not have used Defendant’s website.

18          223.    The UCL also prohibits any “fraudulent business act or practice.” Defendant’s above-
     described nondisclosures and misleading statements were false, misleading, and likely to deceive the
19
     consuming public in violation of the UCL.
20
            224.    Plaintiffs and California Class Members suffered injury in fact and lost money or property
21   as a result of Defendant’s acts and practices in that a portion of any money Plaintiffs and California Class

22   Members paid for Defendant’s services, including giving vaccinations, went to fulfill Defendant’s
     obligations with respect to the confidentiality and security of Plaintiffs’ and California Class Members’
23
     Medical Information, and Defendant failed to fulfill those obligations.
24
            225.    Plaintiffs and California Class Members also suffered injury in fact as a result of
25   Defendant’s acts and practices because they paid more for Defendant’s services than they otherwise would
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 1   have had they known Defendant was disclosing their Medical Information to unauthorized third parties

 2   in violation of its legal obligations, social norms, and reasonable consumer expectations.
              226.   Plaintiffs and California Class Members have also suffered (and will continue to suffer)
 3
     economic damages and other injury and actual harm in the form of, inter alia: (i) invasion of privacy; (ii)
 4   breach of the confidentiality of their Medical Information; and/or (iii) deprivation of the value of their
 5   Medical Information for which there is a well-established national and international market.

 6            227.   Plaintiffs seek a declaration from the Court that Defendant’s conduct alleged herein
     constitutes a violation of Bus. & Prof. Code §§ 17200 et seq. under the unlawful, unfair, and fraudulent
 7
     prongs of the UCL.
 8            228.   Absent injunctive relief from the Court, Defendant is unlikely to fully correct its illegal
 9   conduct. Defendant has not acknowledged its wrongful disclosure and release of Plaintiffs’ and California

10   Class Members’ Medical Information, it has not announced any changes to its practices regarding its
     treatment of Plaintiffs’ and California Class Members’ Medical Information, and, on information and
11
     belief, it has not removed the offending tracking tools from its website. Plaintiffs seek an order from this
12   Court for themselves, the California Class Members, and the general public, requiring Defendant to
13   correct its illegal conduct and requiring Defendant to issue a comprehensive notice to affected consumers.

14            229.   Plaintiffs also seek restitution on behalf of themselves and the California Class.
              230.   This action, if successful, will enforce an important right affecting the public interest and
15
     would confer a significant benefit on a large class of persons and/or the general public. Private
16
     enforcement is necessary and places a disproportionate financial burden on Plaintiffs in relation to
17   Plaintiffs’ stakes in the matter. Because this case is brought for the purposes of enforcing important rights

18   affecting the public interest, Plaintiffs also seek the recovery of attorneys’ fees and costs in prosecuting
     this action against Defendant under Code of Civil Procedure § 1021.5 and other applicable law.
19
              231.   Plaintiffs, on behalf of themselves and the California Class, seek relief as further described
20
     below.
21                                            PRAYER FOR RELIEF

22            WHEREFORE, Plaintiffs, on behalf of themselves and other Class Members, pray for judgment
     against Defendant as follows:
23
              232.   Ordering that this action may proceed and be maintained as a class action under § 382 of
24
     the Code of Civil Procedure; and defining the Classes as specified above and appointing Plaintiffs as
25   Representatives of the Classes and their attorneys as Counsel for the Classes;
26

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 1          233.    Awarding Plaintiffs and California Class Members compensatory damages, disgorgement

 2   of profits, and punitive damages for Defendant’s invasion of privacy and violation of Article 1, Section 1
     of the California Constitution;
 3
            234.    Awarding Plaintiffs and California Class Members nominal damages of $1,000 per
 4   violation, or actual damages, and reasonable attorneys’ fees and the costs of litigation, for Defendant’s
 5   violations of California’s Confidentiality of Medical Information Act, Cal. Civil Code § 56.101;

 6          235.    Awarding Plaintiffs and California Class Members nominal damages of $1,000 per
     violation, or actual damages, punitive damages of $3,000 per violation, and reasonable attorneys’ fees and
 7
     the costs of litigation, for Defendant’s violations of California’s Confidentiality of Medical Information
 8   Act, Cal. Civil Code § 56.10;
 9          236.    Awarding Plaintiffs and Nationwide Class Members appropriate equitable or declaratory

10   relief, the greater of the sum of the actual damages suffered and any profits made by Rite Aid as a result
     of its violations, or statutory damages of whichever is the greater of $100 per day per violation or $10,000,
11
     and reasonable attorneys’ fees and other litigation costs reasonably incurred, for Defendant’s violations
12   of the ECPA, 18 U.S.C. §§ 2510 et seq.;
13          237.    Awarding Plaintiffs and California Class Members statutory damages of $5,000 per

14   violation, or three times the amount of actual damages, and injunctive relief for Defendant’s violations of
     California’s Invasion of Privacy Act, Penal Code §§ 630 et seq.;
15
            238.    Awarding compensatory and consequential damages to Plaintiffs and Nationwide Class
16
     Members for Defendant’s breach of contract or, in the alternative, Defendant’s breach of implied contract;
17          239.    Declaring that Defendant’s conduct alleged herein constitutes a violation of Bus. & Prof.

18   Code §§ 17200 et seq. under the unlawful, unfair, and fraudulent prongs of the UCL;
            240.    Awarding Plaintiffs and California Class Members restitution and injunctive relief for
19
     Defendant’s violations of the UCL, Cal. Bus. & Prof. Code §§ 17200 et seq.;
20
            241.    Awarding attorneys’ fees and costs as authorized by statute and governing law, including
21   Code of Civil Procedure § 1021.5; and

22          242.    Awarding such other and further relief, at law and in equity, as the nature of this case may
     require or as this Court deems just and proper.
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 1                                      DEMAND FOR JURY TRIAL

 2           Plaintiffs, on behalf of themselves and other members of the Classes hereby demand a jury trial
     on all issues so triable.
 3

 4   DATED: March 28, 2023                Respectfully submitted,
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 6
                                                 /s/ Julian Hammond
 7                                               Julian Hammond
                                                 Attorneys for Plaintiffs and the Putative Classes
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